Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 1 of 108




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Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 4 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 5 of 108
   Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 6 of 108




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VHFXULWLHV WUDGLQJ YDOXDWLRQ DQG PDUNHW SUDFWLFH

             )URP  WR  , ZDV HPSOR\HG E\ &KDVH 0DQKDWWDQ %DQN DQG 6HFXULW\

3DFLILF 0HUFKDQW %DQN LQ YDULRXV DFFRXQWDQF\ UROHV $W &KDVH P\ IRFXV ZDV EDQN DXGLWLQJ $W

6HFXULW\ 3DFLILF , ZDV LQ WKH LQGHSHQGHQW YDOXDWLRQ JURXS

             ,Q  , DFFHSWHG D SRVLWLRQ DW %DQNHUV 7UXVW &RPSDQ\ LQ 1HZ <RUN ZKHUH ,

ZRUNHG IRU WKH IROORZLQJ  \HDUV , VWDUWHG LQ WKH LQGHSHQGHQW YDOXDWLRQ JURXS DQG ZDV WDVNHG

ZLWK LQGHSHQGHQWO\ YDOXLQJ SURSULHWDU\ WUDGLQJ SRVLWLRQV KHOG E\ WKH EDQN 7KHVH SRVLWLRQV

LQFOXGHG SRVLWLRQV LQ ); ERQGV LQWHUHVW UDWH VZDSV DQG VZDSWLRQV , ZDV SURPRWHG WR MXQLRU

WUDGHU RQ WKH 86' )XQGLQJ GHVN ZKHUH , ZDV UHVSRQVLEOH IRU LVVXLQJ DQG KHGJLQJ VKRUW WHUP GHEW

XWLOL]LQJ VZDSV DQG VZDSWLRQV 2YHU WKH FRXUVH RI  \HDUV , ZDV SURPRWHG WR 0DQDJLQJ 'LUHFWRU

DQG P\ UHVSRQVLELOLWLHV H[SDQGHG $V 0DQDJLQJ 'LUHFWRU , RYHUVDZ ERWK WKH DVVHW DQG OLDELOLW\

VLGH RI WKH EDQN¶V  ELOOLRQ EDODQFH VKHHW DQG KHDGHG D WHDP RI  SURIHVVLRQDOV JOREDOO\ ,Q

PDQDJLQJ WKH EDODQFH VKHHW , XWLOL]HG DQ DUUD\ RI LQWHUHVW UDWH GHULYDWLYH SURGXFWV DV KHGJHV DQG

ZDV DQ DFWLYH SDUWLFLSDQW LQ WKH VZDSV DQG VZDSWLRQV PDUNHW LQFOXGLQJ LQ WKH LQWHUGHDOHU EURNHU

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DW 6RURV )XQG 0DQDJHPHQW LQ 1HZ <RUN $W 6RURV , WUDGHG D JOREDO PDFUR VWUDWHJ\ WKDW

LQYROYHG WUDGLQJ D ZLGH DUUD\ RI ILQDQFLDO SURGXFWV 0\ SULPDU\ DUHD RI IRFXV ZDV IL[HG LQFRPH

DQG , DFWLYHO\ WUDGHG (XURGROODU IXWXUHV DQG RSWLRQV 86 7UHDVXU\ DQG $JHQF\ VHFXULWLHV

)RUHLJQ %RQGV ); ); 2SWLRQV ,QWHUHVW 5DWH )XWXUHV DQG 2SWLRQV 27& 9DQLOOD 6ZDSV DQG

6ZDSWLRQV DQG ([RWLF 2SWLRQV




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   Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 7 of 108




             ,Q  , SDUWQHUHG ZLWK VHYHUDO IRUPHU FROOHDJXHV DQG VWDUWHG $)* $GYLVRUV D

VPDOO ERXWLTXH KHGJH IXQG IRFXVLQJ RQ JOREDO IL[HG LQFRPH DQG YRODWLOLW\ VWUDWHJLHV $V &KLHI

,QYHVWPHQW 2IILFHU , ZDV UHVSRQVLEOH IRU DOO WUDGLQJ 7KH SURGXFWV WUDGHG LQFOXGHG (XURGROODU

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9DQLOOD 6ZDSV DQG 6ZDSWLRQV DQG ([RWLF 2SWLRQV

             ,Q  , ZDV KLUHG E\ &RXQWU\ZLGH &DSLWDO 0DUNHWV WR RYHUVHH WKHLU 86'

GHULYDWLYH GHVN JRYHUQPHQW DJHQF\ GHVN DQG VWUXFWXUHG SURGXFWV GHVN LQ &DODEDVDV

&DOLIRUQLD &RXQWU\ZLGH ZDV DFTXLUHG E\ %DQN RI $PHULFD LQ HDUO\  $V GHVN KHDG ,

RYHUVDZ WUDGLQJ LQ (XURGROODU IXWXUHV DQG RSWLRQV 86 7UHDVXU\ DQG $JHQF\ VHFXULWLHV ,QWHUHVW

5DWH )XWXUHV DQG 2SWLRQV 27& 9DQLOOD 6ZDSV DQG 6ZDSWLRQV DQG ([RWLF 2SWLRQV

             ,Q  , MRLQHG 0RUJDQ 6WDQOH\¶V ZHDOWK PDQDJHPHQW GLYLVLRQ DQG DVVLVWHG ORFDO

EURNHUV WR GHYHORS IL[HG LQFRPH VWUDWHJLHV IRU WKHLU FOLHQWV

             ,Q  , ZDV KLUHG DV D VHQLRU SRUWIROLR PDQDJHU IRU )LUVW 1< //& D VPDOO

WUDGLQJ SDUWQHUVKLS LQ 1<& , DFWLYHO\ WUDGHG WKH JOREDO OLTXLG * PDUNHW 7KH SURGXFWV , WUDGHG

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             ,Q  , MRLQHG &57 DV WKHLU 7UHDVXUHU &57 ZDV D VPDOO JURZLQJ EURNHU GHDOHU

ZLWK DSSUR[LPDWHO\  PLOOLRQ RI FDSLWDO $W &57 , FKDLUHG WKH $VVHW /LDELOLW\ &RPPLWWHH DQG

RYHUVDZ WKH ILUP¶V HTXLW\ FDSLWDO DOORFDWLRQ DQG WKHLU  ELOOLRQ 86' EDODQFH VKHHW LQFOXGLQJ E\

HQJDJLQJ LQ GHEW KHGJLQJ 7KH EDODQFH VKHHW ZDV FRPSULVHG RI 86 7UHDVXU\ DQG $JHQF\

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   Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 8 of 108




               ,Q  , ZDV KLUHG DV 0DQDJLQJ 'LUHFWRU DW 7XOOHW 3UHERQ $PHULFDV WR FUHDWH D

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PH ZLWK WKUHH EURDG TXDOLILFDWLRQV WKDW , KDYH DSSOLHG LQ UHVSHFW RI WKH RSLQLRQV LQ WKLV UHSRUW

               )LUVW , DP YHUVHG LQ LQGXVWU\ MDUJRQ WUDGLQJ WHUPLQRORJ\ DQG VKRUWKDQG WKDW DUH

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   Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 9 of 108




asked by class counsel to offer certain preliminary opinions that I understand are relevant to the

issue of class certification.1

        17.     First, I have been asked to provide background on the market for interest rate

derivatives, and the need for and application of USD ISDAfix rates. I have also been asked to

describe the “jargon” typically used by those in the interest rate derivatives market.2 This

background and introduction are set out in Sections A, B and C below.

        18.     Second, I have been asked to describe how USD ISDAfix rates were set. My

conclusion is that the USD ISDAfix rate setting process was different in important respects

compared to other ISDAfix rate setting process for other currencies. The USD ISDAfix process

was the only process handled by an interdealer broker (i.e., an “IDB,” like ICAP), whose

business depends on serving the dealers who were trading interest rate products in that market. It

was also the only ISDAfix process where the “poll” used to set the ISDAfix rates was preceded

by “reference rates” sent to a panel of banks. I understand and have been asked to assume that

the USD ISDAfix “reference rate” was routinely “rubberstamped” (i.e., accepted, and returned to

ICAP without amendment) by the Dealer Defendants. A description of the USD ISDAfix process

is set out in Section D below.

        19.     Third, I have been asked to provide an opinion on whether the unique process for

setting of USD ISDAfix rates presented an opportunity for the manipulation by the Dealer

Defendants. My conclusion is that it did. The USD ISDAfix rate setting process was prone to




        1
           A list of the documents and information I have relied upon in the preparation of this Report is
attached as Appendix B.
        2
           As it might assist the Court, I attach as Appendix C a glossary of common financial terms
relevant to the subject matter of this case.


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 10 of 108




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DQG WKH 'HDOHU 'HIHQGDQWV DWWHPSWHG WR PRYH WKH PDUNHW UDWHV IRU LQWHUHVW UDWH VZDSV DQG 86

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UDWHV DQG WKXV ILQDO ,6'$IL[ UHIHUHQFH UDWHV 0\ RSLQLRQ LV WKDW WKHUH LV HYLGHQFH RI VXFK

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WKH YDULRXV 'HDOHU 'HIHQGDQWV DQG WKH EURNHUV DW ,&$3 DWWHPSWLQJ WR DIIHFW ,6'$IL[ UHIHUHQFH

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DFNQRZOHGJLQJ WKDW ,&$3 DQG WKH 'HDOHU 'HIHQGDQWV ZHUH DWWHPSWLQJ WR DIIHFW ,6'$IL[ UHIHUHQFH

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WUDGLQJ SUDFWLFH ,W LV DSSDUHQW WKDW 'HDOHU 'HIHQGDQWV IUHTXHQWO\ VSHQW ZKDW WKH\ GHVFULEHG DV

³DPPR´ LH IXQGV WKDW FRXOG EH ³ZDVWHG´ RQ WUDQVDFWLRQV FRQGXFWHG SULPDULO\ WR PRYH VZDS

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JHQHUDO DQG QRQOHJDO VHQVH


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 11 of 108




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SDUWLFXODU GLUHFWLRQ 7KHVH RSLQLRQV DQG VSHFLILF GD\ HYLGHQFH DUH VHW RXW LQ 6HFWLRQV ,, DQG ,,,

             )LIWK , KDYH EHHQ DVNHG WR SURYLGH DQ RSLQLRQ UHJDUGLQJ WKH H[WHQW RI WKH HYLGHQFH

VKRZLQJ WKDW WKH 86' ,6'$IL[ UDWH VHWWLQJ SURFHVV ZDV PDQLSXODWHG LQ SDUWLFXODU ZKHWKHU WKDW

HYLGHQFH LV OLPLWHG WR LVRODWHG WUDQVDFWLRQV WR FHUWDLQ 'HIHQGDQWV RU WR D SHULRG RG WLPH VKRUWHU

WKDQ DOO RI WKH FODVV SHULRG 0\ FRQFOXVLRQ LV WKDW WKH HYLGHQFH RI PDQLSXODWLRQ LV QRW VR OLPLWHG

,QVWHDG WKH HYLGHQFH VKRZLQJ WKDW WKH SURFHVV IRU VHWWLQJ 86' ,6'$IL[ UDWHV ZDV IUHTXHQWO\

DEXVHG E\ ,&$3 DQG WKH 'HDOHU 'HIHQGDQWV VSDQV D UDQJH RI WUDQVDFWLRQV HQFRPSDVVHV DOO

'HIHQGDQWV DQG LV SUHVHQW WKURXJKRXW WKH FODVV SHULRG LW LV QRW OLPLWHG WR LVRODWHG LQFLGHQWV RU WR

SDUWLFXODU 'HIHQGDQWV

             )RU H[DPSOH WKHUH LV HYLGHQFH PRUH JHQHUDO LQ QDWXUH WKDQ WKH HYLGHQFH GLVFXVVHG

LQ 6HFWLRQ ,, ZKLFK FRQILUPV WKDW ,&$3 DQG WKH 'HDOHU 'HIHQGDQWV NQHZ WKDW ³JDPHV´ ZHUH

EHLQJ SOD\HG E\ WKH RWKHU 'HDOHU 'HIHQGDQWV DURXQG  DP DQG WKDW RIWHQ WKH 'HDOHU

'HIHQGDQWV¶ SULPDU\ SXUSRVH LQ WUDGLQJ DW WKDW WLPH ZDV ³DP SULQW PDQLSXODWLRQ´ LH WR PRYH

RU DFKLHYH SDUWLFXODU ,6'$IL[ UHIHUHQFH UDWHV $V HDUO\ DV $XJXVW   WKH 'HDOHU

'HIHQGDQWV ZHUH WDONLQJ DPRQJ WKHPVHOYHV DERXW ZKHWKHU WR VWRS PDQLSXODWLQJ ,6'$IL[ UDWHV

2Q WKDW GDWH                        %DUFOD\V FRQWDFWHG                      %133 ZLWK D SURSRVDO




        
            'XULQJ P\ UHYLHZ RI GRFXPHQWV DQG ILOHV IURP WKH GLVFRYHU\ UHFRUG LQ WKLV FDVH FRQVLVWLQJ RI
FROOHFWLYHO\ RYHU D WKRXVDQG FKDWV PHVVDJHV DQG UHFRUGHG FDOOV , KDYH LGHQWLILHG QXPHURXV LQVWDQFHV
ZKHUH WKH FRQGXFW GHVFULEHG LV QRW FRQVLVWHQW ZLWK LQGXVWU\ FXVWRP DQG SUDFWLFH ,Q WKLV UHSRUW , GLVFXVV D
RQO\ D VDPSOH RI WKRVH FKDWV PHVVDJHV DQG UHFRUGHG FDOOV WKXV WKH VDPSOHV VKRXOG EH FRQVLGHUHG
LOOXVWUDWLYH DQG QRW LQ DQ\ ZD\ D FRPSUHKHQVLYH OLVW RI 'HIHQGDQWV¶ DWWHPSWV DW PDQLSXODWLRQ


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 12 of 108




            6LPLODUO\ ZKHQ QHZV EURNH RQ 1RYHPEHU   WKDW WKH 1HZ <RUN $WWRUQH\

*HQHUDO ZDV LQYHVWLJDWLQJ WUDGHUV DQG EURNHUV LQ WKH FUHGLW GHIDXOW VZDSV PDUNHW        %133




                            ´ 7KHVH RSLQLRQV DQG JHQHUDO HYLGHQFH DUH VHW RXW LQ 6HFWLRQ ,9

EHORZ

            )LQDOO\ , KDYH EHHQ DVNHG ZKHWKHU WKHUH LV DQ LQGXVWU\VWDQGDUG SUDFWLFH LQ WHUPV

RI GRFXPHQWLQJ LQWHUHVW UDWH GHULYDWLYHV WUDQVDFWLRQV 0\ FRQFOXVLRQ LV WKDW WKHUH LV DQG ,

GHVFULEH IRU WKH &RXUW WKH SURYLVLRQV RI WKH ,6'$ 0DVWHU $JUHHPHQW DQG UHODWHG ,6'$

'HILQLWLRQV WKDW ZRXOG KDYH EHHQ VWDQGDUG DFURVV DQ\ LQWHUHVW UDWH GHULYDWLYH WUDQVDFWLRQV HQWHUHG

LQWR ZLWK 'HDOHU 'HIHQGDQWV 7KH 'HDOHU 'HIHQGDQWV XVXDOO\ DFWHG DV &DOFXODWLRQ $JHQWV XQGHU

WKHLU ,6'$ 0DVWHU $JUHHPHQWV ZLWK 3ODLQWLIIV DQG RWKHU FODVV PHPEHUV 7KH 'HDOHU 'HIHQGDQWV

WKXV DOO KDG DQ REOLJDWLRQ WR PDNH YDULRXV FDOFXODWLRQV DQG GHWHUPLQDWLRQV LQFOXGLQJ WKH

FDOFXODWLRQ DQG GHWHUPLQDWLRQ RI &DVK 6HWWOHPHQW $PRXQWV GXH XQGHU VZDSWLRQV LQ JRRG IDLWK

DQG LQ D FRPPHUFLDOO\ UHDVRQDEOH PDQQHU 7KLV RSLQLRQ LV VHW RXW LQ 6HFWLRQ 9 EHORZ

            0\ UHVHDUFK LQWR WKH PDWWHUV GLVFXVVHG LQ WKLV UHSRUW LV RQJRLQJ DQG , UHVHUYH WKH

ULJKW WR PRGLI\ RU VXSSOHPHQW P\ RSLQLRQV DV DGGLWLRQDO LQIRUPDWLRQ EHFRPHV DYDLODEOH




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           %133B$.B HPSKDVLV DGGHG  )URP P\ UHYLHZ RI WKH HYLGHQFH LW GRHV QRW DSSHDU
WKDW DQ\ VXFK QHZ GHDO ZDV HYHU UHDFKHG RU LPSOHPHQWHG
        
           %$5&,);B HPSKDVLV DGGHG 


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     Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 13 of 108




                                          %$&.*5281'

$      'HULYDWLYHV %HQFKPDUNV DQG WKH 1HHG IRU ,6'$IL[ 5DWHV

            $ GHULYDWLYH LV D ILQDQFLDO LQVWUXPHQW WKH YDOXH RI ZKLFK GHSHQGV RQ WKH YDOXH RI

VRPH RWKHU XQGHUO\LQJ QRWH RU ILQDQFLDO LQVWUXPHQW VXFK DV LQWHUHVW UDWHV RU 7UHDVXULHV RU D VWRFN

ERQG FXUUHQF\ RU FRPPRGLW\ 'HULYDWLYHV SHUPLW PDUNHW SDUWLFLSDQWV WR PDQDJH DQG WUDQVIHU

ULVN E\ DOORZLQJ WKHP WR VHSDUDWH RXW DQG WUDGH LQGLYLGXDO ULVN FRPSRQHQWV VXFK DV LQWHUHVW UDWH

ULVN

            7KH PRVW EDVLF W\SH RI LQWHUHVW UDWH GHULYDWLYH LV DQ LQWHUHVW UDWH VZDS $Q LQWHUHVW

UDWH VZDS LV D WUDQVDFWLRQ LQ ZKLFK WKH SDUWLHV FDOFXODWH LQWHUHVW UDWH SD\PHQWV RQ DQ DJUHHG

QRWLRQDO DPRXQW IRU D IL[HG SHULRG RI WLPH 7\SLFDOO\ RQH SDUW\ ZLOO SD\ EDVHG RQ D ³IL[HG´

LQWHUHVW UDWH RQ WKH QRWLRQDO DPRXQW ZKLFK GRHV QRW YDU\ IURP RQH SD\PHQW WR WKH QH[W 7KH

RWKHU SDUW\ ZLOO SD\ EDVHG RQ D YDULDEOH ³IORDWLQJ´ LQWHUHVW UDWH WKDW LV WLHG WR DQ LQGHSHQGHQW

EHQFKPDUN VXFK DV WKH /RQGRQ ,QWHUEDQN 2IIHUHG 5DWH ³/,%25´ 

            6ZDSV DUH HQWHUHG LQWR E\ SDUWLHV VHHNLQJ WR LQFUHDVH RU OLPLW WKHLU LQWHUHVW UDWH ULVN

)RU H[DPSOH D FRPSDQ\ WKDW EHOLHYHG WKDW LQWHUHVW UDWHV ZHUH JRLQJ WR ULVH PLJKW HQWHU D VZDS

ZKHUH WKH\ SD\ D IL[HG UDWH DQG UHFHLYH D IORDWLQJ UDWH RYHU WLPH 7KLV FRPSDQ\ DVVXPHV WKH ULVN

WKH IORDWLQJ UDWH ZLOO IDOO EHORZ WKH IL[HG UDWH EHFDXVH WKH FRPSDQ\ LV WKHQ SD\LQJ PRUH WKDQ LW LV

UHFHLYLQJ  EXW ZLOO DOVR UHFHLYH WKH SURILW LI WKH IORDWLQJ UDWH ULVHV DERYH WKH IL[HG UDWH EHFDXVH

WKH FRPSDQ\ LV WKHQ SD\LQJ OHVV WKDQ LW LV UHFHLYLQJ  6LPLODUO\ D FRPSDQ\ UHTXLUHG WR SD\

LQWHUHVW DW D IORDWLQJ UDWH RYHU WKH OLIH RI D ORDQ PLJKW HQWHU D VZDS ZKHUH WKH\ SD\ D IL[HG UDWH DQG

UHFHLYH D IORDWLQJ UDWH RYHU WKH ORDQ SHULRG ,Q H[FKDQJH IRU DJUHHLQJ WR SD\ D IL[HG UDWH XQGHU WKH

VZDS WKLV FRPSDQ\ KDV UHGXFHG WKH ULVN RI WKHLU LQFUHDVHG IORDWLQJ UDWH SD\PHQWV RQ WKH ORDQ

EHFDXVH VXFK LQFUHDVHV ZRXOG EH PDWFKHG E\ LQFUHDVHV LQ IORDWLQJ UDWH SD\PHQWV WKH\ UHFHLYH

XQGHU WKH VZDS


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 14 of 108




            6ZDSV DUH WUDGHG E\ GHDOHUV RIWHQ LQYHVWPHQW EDQNV OLNH WKH 'HDOHU 'HIHQGDQWV LQ

WKLV FDVH  ZKR WUDGH WKURXJK EURNHUV LQFOXGLQJ LQWHUGHDOHU EURNHUV OLNH ,&$3 WKH EURNHU

'HIHQGDQW LQ WKLV FDVH  'XULQJ WKH FODVV SHULRG VZDSV EURNHUHG WKURXJK ,&$3 ZHUH ³YRLFH

WUDGHG´ PHDQLQJ WKDW GHDOHUV FRXOG QRW WUDGH VZDSV RQ DQ HOHFWURQLF H[FKDQJH ZKHUH WKH\ ZHUH

LPSOHPHQWHG E\ D FRPSXWHU V\VWHP 7KH\ ZRXOG LQVWHDG SODFH RUGHUV E\ VSHDNLQJ WR D KXPDQ

,&$3 EURNHU RYHU WKH WHOHSKRQH RU E\ VHQGLQJ PHVVDJHV LQ D IRUPDW VLPLODU WR HPDLO WKDW WKH

,&$3 EURNHU ZRXOG WKHQ QHHG WR LPSOHPHQW PDQXDOO\

            $QRWKHU W\SH RI LQWHUHVW UDWH GHULYDWLYH LV WKH VZDSWLRQ $ VZDSWLRQ LV D WUDQVDFWLRQ

LQ ZKLFK WKH EX\HU RI WKH VZDSWLRQ SD\V WKH VHOOHU D SUHPLXP IRU WKH RSWLRQ EXW QRW WKH REOLJDWLRQ

WR HQWHU DQ LQWHUHVW UDWH VZDS FRQWUDFW ZLWK WKH VHOOHU RQ SUHGHILQHG WHUPV RQ D VSHFLILHG IXWXUH

GDWH 7KH SUHGHILQHG WHUPV RI WKH XQGHUO\LQJ VZDS LQFOXGH WKH OHQJWK RI WLPH RYHU ZKLFK

SD\PHQWV ZLOO EH PDGH LH WKH WHQRU RI WKH VZDS  WKH QRWLRQDO DPRXQW ZKLFK SDUW\ ZLOO UHFHLYH

WKH IL[HG UDWH ZKLOH SD\LQJ WKH IORDWLQJ UDWH DQG YLFHYHUVD WKH DPRXQW RI WKH IL[HG UDWH WKH

FDOFXODWLRQ RI IORDWLQJ SD\PHQWV WKH GDWHV RQ ZKLFK SD\PHQWV DUH GXH DQG KRZ RIWHQ VXFK

SD\PHQWV DUH GXH 7KH VZDSWLRQ DOVR VSHFLILHV WKH H[SLUDWLRQ GDWH DQG ZKHQ WKH RSWLRQ PD\ EH

H[HUFLVHG IRU H[DPSOH (XURSHDQ RSWLRQV FDQ EH H[HUFLVHG RQO\ DW WKH H[SLUDWLRQ GDWH ZKLOH

$PHULFDQ RSWLRQV FDQ EH H[HUFLVHG DW DQ\ SRLQW SULRU WR WKH H[SLUDWLRQ GDWH $GGLWLRQDOO\

%HUPXGDQ VZDSWLRQV FDQ EH H[HUFLVHG DW SUHGHWHUPLQHG GDWHV EHWZHHQ WKH SXUFKDVH GDWH DQG

H[SLU\ GDWH

            ,I WKH VZDSWLRQ LV ³LQ WKH PRQH\´ WKH XQGHUO\LQJ VZDS FRQWUDFW LV PRUH IDYRUDEOH

WKDQ WKH VZDS FRQWUDFW WKDW WKH RSWLRQKROGHU FRXOG REWDLQ LQ WKH RSHQ PDUNHW DW WKH WLPH RI

H[HUFLVH )RU H[DPSOH LI WKH VZDSWLRQ LV D SD\HU VZDSWLRQ ZKLFK JLYHV WKH RSWLRQKROGHU WKH

ULJKW WR SD\ D SUHVSHFLILHG IL[HG UDWH LQ H[FKDQJH IRU UHFHLYLQJ IORDWLQJ UDWH SD\PHQWV WKH




                                                  
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 15 of 108




VZDSWLRQ LV LQ WKH PRQH\ LI WKH SUHVSHFLILHG IL[HG UDWH LV ORZHU WKDQ WKH IL[HG UDWH WKDW FRXOG EH

REWDLQHG LQ WKH RSHQ PDUNHW IRU WKH VDPH WHQRU 2Q WKH RWKHU KDQG LI WKH VZDSWLRQ LV D UHFHLYHU

VZDSWLRQ JLYLQJ WKH RSWLRQKROGHU WKH ULJKW WR UHFHLYH WKH IL[HG SD\PHQWV LQ H[FKDQJH IRU SD\LQJ

WKH IORDWLQJ SD\PHQWV WKH RSWLRQ LV LQ WKH PRQH\ LI WKH SUHVSHFLILHG IL[HG UDWH LV KLJKHU WKDQ WKH

IL[HG UDWH WKDW FRXOG EH REWDLQHG LQ WKH RSHQ PDUNHW DW WKH WLPH RI H[HUFLVH

            ,I WKH VZDSWLRQ LV LQ WKH PRQH\ RQ WKH H[SLUDWLRQ GDWH WKH VZDSWLRQ LV DOPRVW

DOZD\V JRLQJ WR EH H[HUFLVHG ,I WKH VZDSWLRQ LV RXW RI WKH PRQH\ RQ WKH H[SLUDWLRQ GDWH WKH

VZDSWLRQ LV DOPRVW QHYHU JRLQJ WR EH H[HUFLVHG

            $ SK\VLFDOO\ VHWWOHG VZDSWLRQ LI H[HUFLVHG UHVXOWV LQ WKH SDUWLHV HQWHULQJ LQWR DQ

DFWXDO VZDS FRQWDLQLQJ WKH WHUPV WKDW ZHUH DJUHHG XSRQ DW WKH WLPH WKH VZDSWLRQ ZDV HQWHUHG $

FDVKVHWWOHG VZDSWLRQ LI H[HUFLVHG UHVXOWV LQ WKH VHOOHU RI WKH RSWLRQ PDNLQJ D FDVK SD\PHQW WR WKH

KROGHU RI WKH RSWLRQ 7KH DPRXQW RI WKH FDVK SD\PHQW LV LQWHQGHG WR UHSUHVHQW WKH QHW SUHVHQW

YDOXH RI D VZDS HQWHUHG LQWR RQ WKH DJUHHG XSRQ WHUPV VSHFLILHG LQ WKH VZDSWLRQ 7KH QHW SUHVHQW

YDOXH RI D VZDS LV GHWHUPLQHG E\ FRPSDULQJ WKH FXUUHQW PDUNHW UDWH IRU DQ LGHQWLFDO WHQRU VZDS

ZLWK WKH DJUHHG XSRQ UDWH LQ WKH VZDSWLRQ FRQWUDFW DQG FDOFXODWLQJ WKH SUHVHQW YDOXH RI WKDW

GLIIHUHQFH RYHU WKH OLIH RI WKH VZDS

            6HWWOLQJ D FDVKVHWWOHG VZDSWLRQ WKXV UHTXLUHV D PHDVXUHPHQW WR EH WDNHQ RI ZKDW

JHQHUDOO\ VSHDNLQJ ³WKH PDUNHW´ LV IRU WKH SUHQHJRWLDWHG VZDS 7R EH PRUH VSHFLILF WKH

FRPSDULVRQ UHTXLUHV DVNLQJ ZKDW PDUNHW SDUWLFLSDQWV DUH FXUUHQWO\ ZLOOLQJ WR SD\ RQ WKH ³IL[HG´

OHJ RI VZDS WKDW RWKHUZLVH ZRXOG KDYH LGHQWLFDO WHUPV DV WKH SUHQHJRWLDWHG VZDS $W RQH SRLQW LQ

WLPH H[HUFLVH RI D FDVKVHWWOHG VZDSWLRQ UHTXLUHG WKH SDUWLHV WKHPVHOYHV WR WDNH D VXUYH\ RI

PDUNHWPDNHUV WR FRPH XS ZLWK WKLV FRPSDULVRQ SRLQW


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          *HRUJH +DQGMLQLFRODRX ,6'$¶V 5HVSRQVH WR WKH (XURSHDQ &RPPLVVLRQ¶V 3XEOLF &RQVXOWDWLRQ
RQ WKH 5HJXODWLRQ RI ,QGLFHV DW   1RY   ³,6'$ GHYHORSHG ,6'$),; WR IDFLOLWDWH WKH


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Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 16 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 17 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 18 of 108




VZDS LV WR DJUHH WR SD\ LH WR EHFRPH WKH ³SD\HU´ RI WKH IL[HG UDWH RI LQWHUHVW ZKLOH UHFHLYLQJ

WKH IORDWLQJ UDWH RI LQWHUHVW 7R ³VHOO´ D YDQLOOD VZDS LV WR DJUHH WR UHFHLYH LH WR EHFRPH WKH

³UHFHLYHU´ RI WKH IL[HG UDWH RI LQWHUHVW ZKLOH FRPPLWWLQJ WR SD\LQJ WKH IORDWLQJ UDWH RI LQWHUHVW

            $ OD\SHUVRQ PLJKW DOVR DVN ZKDW WKH ³SULFH´ RI DQ LQVWUXPHQW LV )RU LQWHUHVW UDWH

VZDSV WKH ³SULFH´ RI WKH VZDS LV OLNHO\ WR EH WKH ³VZDS UDWH´ LH WKH IL[HG UDWH SD\DEOH E\ WKH

EX\HU RI WKH VZDS 7KH QHJRWLDWLRQ EHWZHHQ WKH SRWHQWLDO EX\HU DQG SRWHQWLDO VHOOHU RI D VZDS

WKXV RFFXUV RYHU ZKHWKHU WKLV VZDS UDWH LV KLJKHU RU ORZHU LQ WKH VDPH ZD\ WKDW D EX\HU DQG D

VHOOHU PLJKW KDJJOH RYHU ³SULFH´

            1RU LV LW OLNHO\ WR EH FOHDU WR WKH OD\SHUVRQ ZKDW WKH IL[HG UDWH RI LQWHUHVW ZLOO EH

DSSOLHG WR DQG ZKDW WKH IORDWLQJ UDWH RI LQWHUHVW ZLOO EH DSSOLHG WR EHFDXVH XQOLNH D ORDQ WKHUH LV

QR ³GHEW´ RU ³SULQFLSDO´ LQ WKH WUDGLWLRQDO VHQVH 7KH ILJXUH WR ZKLFK WKH WZR LQWHUHVW UDWHV ZLOO EH

DSSOLHG LQ RUGHU WR FDOFXODWH WKH H[DFW FDVK IORZV LV FDOOHG WKH ³QRWLRQDO´ DPRXQW 7KH QRWLRQDO

DPRXQW GHVFULEHV WKH VL]H RI WKH VZDS WKDW WKH SDUWLHV ZDQW WR HQWHU ,W LV VWDQGDUG PDUNHW

FRQYHQWLRQ WKDW D XQLW RI QRWLRQDO DPRXQW LV RQH PLOOLRQ 86 'ROODUV 7KXV ZKHQ WUDGHUV UHIHU WR

³EX\ ´ WKH\ PHDQ WKH LQWHUHVW SD\PHQWV ZLOO EH FDOFXODWHG RQ D  ILJXUH ,W GRHV

QRW PHDQ WKH ³EX\HU´ PXVW SD\  XSIURQW OLNH LW ZRXOG LI LW ZHUH EX\LQJ D

 ERQG

            ³6ZDS VSUHDGV´ DUH DOVR DFWLYHO\ WUDGHG $ VZDS VSUHDG LV WKH DGGLWLRQDO \LHOG

TXRWHG LQ EDVLV SRLQWV WK RI D SHUFHQW WKDW WKH SD\HU RU UHFHLYHU UHTXLUHV DV DQ DGGLWLRQDO

VSUHDG RYHU D ULVNIUHH UDWH ,Q WKH 86 PDUNHW WKH VWDQGDUG ULVNIUHH UDWH LV WKH UDWH RQ WKH

DSSOLFDEOH WHQRU RI D 86 7UHDVXU\ VHFXULW\ $ VZDS VSUHDG WUDGH FRQVLVWV RI D VZDS WUDQVDFWLRQ

DQG D 86 7UHDVXU\ VHFXULW\ WUDQVDFWLRQ $ EX\HU RI D VZDS VSUHDG SD\V D IL[HG UDWH RQ D VZDS

DQG VLPXOWDQHRXVO\ SXUFKDVHV D 86 7UHDVXU\ VHFXULW\ IURP WKH VZDS FRXQWHUSDUW\ 7KH




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 19 of 108




QHJRWLDWHG VSUHDG LV DGGHG WR WKH UDWH RI WKH 86 7UHDVXU\ DQG EHFRPHV WKH IL[HG UDWH RI WKH VZDS

)RU H[DPSOH LI D ILYH\HDU VZDS VSUHDG LV  EDVLV SRLQWV DQG WKH \LHOG RQ D 86 7UHDVXU\

VHFXULW\ LV  WKH ILYH\HDU VZDS FRQWUDFW UDWH LV 

              7KH IROORZLQJ )HEUXDU\   GLVFXVVLRQ EHWZHHQ                         D %DUFOD\V

7UDGHU DQG               D ,&$3 EURNHU LOOXVWUDWHV WUDGHU MDUJRQ




              7KH H[SUHVVLRQ                                                                            

LH VWDWLQJ DQ LQWHQW WR DFFHSW D SUHYLRXVO\ VWDWHG RIIHU WR EX\ 7KLV PHDQV *ROGPDQ ZRXOG EH

UHFHLYLQJ SD\PHQWV OLQNHG WR WKH IL[HG UDWH ZKLOH PDNLQJ SD\PHQW OLQNHG WR /,%25 7KH

H[SUHVVLRQ

                              7KH H[SUHVVLRQ

                                               LV MDUJRQ IRU WKH VZDS UDWH RU VZDS VSUHDG UDWH EHLQJ

GLVFXVVHG 7KH IXOO UDWH EHLQJ GLVFXVVHG LV XQOLNHO\ WR EH ³´ IRU D IHZ UHDVRQV )LUVW RIWHQ

WUDGHUV WDON QRW LQ WHUPV RI WKH ILQDO IXOO LQWHUHVW UDWH EXW LQVWHDG LQ WHUPV RI WKH GLIIHUHQFH

EHWZHHQ WKH UDWH EHLQJ GLVFXVVHG DQG FXUUHQW 7UHDVXU\ \LHOGV 6HFRQG LW LV LQGXVWU\ SUDFWLFH WR

VKRUWHQ GLVFXVVLRQV E\ UHIHUULQJ WR WKH IUDFWLRQV RU WKH ODVW QXPHUDO LQ D VWULQJ RI QXPEHUV

$Q\RQH FRQYHUVDQW LQ WKH PDUNHW DQG WUDGLQJ DW WKDW WLPH ZKR KHDUG D UHIHUHQFH WR                  ZRXOG

NQRZ WKH UHVW RI WKH QXPEHU VXUURXQGLQJ WKH

              7KH H[SUHVVLRQ

                                       $JDLQ KRZHYHU WKH UDWH LV QRW MXVW                        
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              %$5&,);&B


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     Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 20 of 108




$Q\RQH WUDGLQJ DW WKDW WLPH DQG KHDULQJ D UHIHUHQFH WR                      ZRXOG NQRZ WKDW ZKDW

ZDV EHLQJ UHIHUUHG WR ZDV D VZDS VSUHDG RI ³´ 7KH H[SUHVVLRQ                        PHDQV WKDW

%DUFOD\V LV QRZ ZLOOLQJ WR EX\ WZR \HDU WHQRU VZDSV             7KH UHIHUHQFH WR




                                          7KH VWDWHPHQW

                                                                         

            7KLV LV MXVW RQH H[DPSOH RI KRZ HYHQ WKH VLPSOHVW RI WUDQVDFWLRQV²%DUFOD\V WU\LQJ

WR EX\ D VZDS²FDQ UHVXOW LQ FRPPXQLFDWLRQV WKDW ZRXOG EH GLIILFXOW IRU D OD\SHUVRQ WR XQGHUVWDQG

%HORZ , JR WKURXJK D VDPSOH RI WKH WUDGHU FKDWV DQG PHVVDJHV LQ WKLV FDVH LQ DQ HIIRUW WR PDNH WKH

MDUJRQ XVHG E\ WKH 'HDOHU 'HIHQGDQWV DQG ,&$3 XQGHUVWDQGDEOH WR WKH &RXUW

&      ³7LPHVWDPSV´ RQ 6ZDSV DQG 7UHDVXU\ 7UDGHV %URNHUHG E\ ,&$3

            :KLOH 86' ,6'$IL[ UHIHUHQFH UDWHV ZHUH FDOFXODWHG IURP 7UHDVXU\ \LHOGV DQG

VZDS VSUHDGV DV GLVSOD\HG RQ 6FUHHQ  DW  DP LW LV LPSRUWDQW WR QRWH WKDW 3ODLQWLIIV LQ

WKLV FDVH KDYH QRW EHHQ DEOH WR SUHFLVHO\ LGHQWLI\ WKH WLPH DW ZKLFK LQWHUHVW UDWH VZDS RU VZDS

VSUHDG WUDQVDFWLRQV ZHUH HQWHUHG 6ZDSV ZHUH H[HFXWHG WKURXJK ,&$3 XVLQJ ³YRLFH´ WUDGLQJ

PHDQLQJ WKDW EURNHU ZRXOG H[HFXWH D VZDS DIWHU UHFHLYLQJ LQVWUXFWLRQV IURP D WUDGHU RYHU WKH

SKRQH RU WKURXJK HOHFWURQLF PHVVDJHV +RZHYHU WKH UHFRUG RI WKDW WUDQVDFWLRQ ZRXOG WKHQ QHHG

WR EH HQWHUHG PDQXDOO\ E\ D EURNHU¶V DVVLVWDQW LQWR ,&$3¶V V\VWHP DQG WR 6ZDSVZLUH QRZ NQRZQ

DV 0DUNLW6(59 



        
            6ZDSV:LUH DOORZV EDQNV WR FDSWXUH DQG FRQILUP LQWHUHVW UDWH DQG FUHGLW GHULYDWLYH WUDGHV
GLUHFWO\ ,QWHUGHDOHU EURNHUV FDQ VHQG EURNHU FRQILUPDWLRQV HOHFWURQLFDOO\ WR GHDOHUV XVLQJ WKH VDPH
V\VWHP DQG IRUPDW PHDQLQJ GHDOV DUH FDSWXUHG FRQILUPHG ZLWK WKH EURNHU DQG FRQILUPHG ZLWK WKH
FRXQWHUSDUW\ DV SDUW RI D VLQJOH VPRRWK DXWRPDWHG SURFHVV 6ZDSVZLUH ZDV DFTXLUHG E\ 0DUNLW6(59 LQ
HDUO\ 


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     Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 21 of 108




                7KXV ,&$3 KDV FRQILUPHG WKDW WKH WLPHVWDPSV IRU ,&$3EURNHUHG VZDSV WUDGHV

DUH QRW QHFHVVDULO\ WKH H[DFW WLPH WKDW WKH WUDGHV ZHUH H[HFXWHG DQG LQVWHDG WKDW LW ZDV FRPPRQ

IRU D WUDGH WLFNHW WR EH WLPHVWDPSHG PDQ\ PLQXWHV DIWHU WKH DFWXDO WUDGH WLPH , XQGHUVWDQG WKDW

WKLV ODJ WLPH FRXOG EH VLJQLILFDQW RQ EXV\ GD\V

                7KLV GHJUHH RI ODJ WLPH ZDV QRW SUHVHQW IRU UDWHV WKDW ZHUH GLVSOD\HG RQ WKH 

6FUHHQ D GLVSOD\ ZKLFK ZDV DOVR NQRZQ DV ³WKH SULQW´ 7KHVH UDWHV ZHUH DOVR HQWHUHG PDQXDOO\

E\ DQ ,&$3 HPSOR\HH²NQRZQ DV D ³SHFNHU´ RU D ³VFUHHQ JX\´²ZKR VDW ZLWK WKH ,&$3 EURNHUV

OLVWHQHG WR WKH ELGV RIIHUV DQG H[HFXWHG WUDQVDFWLRQV DQG WKHQ ³SHFNHG´ WKH UHVXOWV LQWR D WHUPLQDO

FRQWUROOLQJ WKH  6FUHHQV +RZHYHU WKLV SURFHVV ZDV VXSSRVHG WR RFFXU PRUH RU OHVV LQ

UHDO WLPH DQG WKXV WKH ODJ ZDV PXFK VKRUWHU DQG VKRXOG W\SLFDOO\ KDYH EHHQ OLPLWHG WR D PDWWHU RI

VHFRQGV

                6LPLODUO\ , XQGHUVWDQG WKDW WLPHVWDPSV IRU 7UHDVXULHV WUDGHV H[HFXWHG WKURXJK

,&$3¶V ³%URNHU7HF´ V\VWHP DUH KLJKO\ DFFXUDWH EHFDXVH WKH\ ZHUH UHFRUGHG DXWRPDWLFDOO\ E\ WKDW

V\VWHP DQG UHIOHFW WKH H[DFW WLPH ZKHQ H[HFXWDEOH ELGV DQG RIIHUV DQG WUDGHV RFFXUUHG UDWKHU

WKDQ VRPH VXEVHTXHQW SRLQW LQ WLPH ZKHQ WKH\ ZHUH PDQXDOO\ ³HQWHUHG´ LQWR WKH V\VWHP

'      7KH 3URFHVV IRU ,6'$IL[ 5DWHV

                *HQHUDOO\ VSHDNLQJ WKH VHWWLQJ RI DOO ,6'$IL[ UDWHV ERWK 86' DQG RWKHU EHJDQ

ZLWK WKH VDPH EDVLF FRQFHSW $ ³SROO´ RI UDWHV DQG VSUHDGV ZDV WDNHQ RI D JLYHQ ³SDQHO´ RI

GHDOHUV $FFRUGLQJ WR ,6'$ WKH UDWH SURYLGHG E\ D GHDOHU ZDV VXSSRVHG WR EH ³WKH PHDQ RI

ZKHUH WKDW GHDOHU ZRXOG LWVHOI RIIHU DQG ELG D VZDS LQ WKH UHOHYDQW PDWXULW\ IRU D QRWLRQDO

        
               6HH ,&$3  E  'HSRVLWLRQ -XQ    7U  


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        
               6HH HJ ,G 7U 




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 22 of 108




HTXLYDOHQW DPRXQW RI 86  PLOOLRQ RU ZKDWHYHU DPRXQW LV GHHPHG PDUNHW VL]H LQ WKDW FXUUHQF\

IRU WKDW WHQRU WR DQ DFNQRZOHGJHG GHDOHU RI JRRG FUHGLW LQ WKH VZDS PDUNHW´ ,6'$ VSHFLILHG

WKDW WKH ³UDWH >SURYLGHG E\ D GHDOHU LQ UHVSRQVH WR D SROO@ VKRXOG QRW EH ZKHUH WKH GHDOHU VHHV PLG

PDUNHW DZD\ IURP LWVHOI EXW VKRXOG EH WKH IXQFWLRQ RI LWV RZQ ELGRIIHU VSUHDG´

            7KH WRS DQG ERWWRP UDWHV UHFHLYHG IURP GHDOHUV LQ UHVSRQVH WR WKLV SROO ZHUH

JHQHUDOO\ GLVFDUGHG D SURFHVV NQRZQ DV ³WRSSLQJ DQG WDLOLQJ´  ZLWK WKH H[DFW QXPEHU RI GLVFDUGV

YDU\LQJ GHSHQGLQJ RQ IRU LQVWDQFH WKH QXPEHU RI UHVSRQVHV UHFHLYHG IRU WKDW FXUUHQF\WHQRU 7KH

UHPDLQLQJ VXEPLVVLRQV ZHUH DYHUDJHG WR FRPH XS ZLWK D ILQDO SXEOLVKHG UDWH DQG VSUHDG

GLVFXVVHG EHORZ IRU D SDUWLFXODU FXUUHQF\WHQRU SDLU )RU DOO FXUUHQFLHV H[FHSW 86' WKLV SURFHVV

RI FRQGXFWLQJ D SROO UHFHLYLQJ UHVSRQVHV FDOFXODWLQJ D WULPPHG DYHUDJH DQG JHQHUDOO\

DGPLQLVWHULQJ WKH GD\WRGD\ DFWLYLWLHV ZDV FDUULHG RXW E\ 7KRPVRQ 5HXWHUV WKH LQIRUPDWLRQ DQG

WHFKQRORJ\ FRPSDQ\ 7KRPVRQ 5HXWHUV DFWHG FRPSOHWHO\ LQGHSHQGHQW RI WKH 'HDOHU 'HIHQGDQWV

LQ FDUU\LQJ RXW WKLV IXQFWLRQ IRU WKH QRQ 86' ,6'$IL[ UDWHV

            )RU 86' ,6'$IL[ UDWHV KRZHYHU 7KRPVRQ 5HXWHUV GLG QRW FRQWURO WKH VXEPLVVLRQ

SURFHVV ,QVWHDG WKH SURFHVV RI DGPLQLVWHULQJ 86' ,6'$IL[ UDWHV ZDV JLYHQ WR 'HIHQGDQW ,&$3

,&$3 LV DPRQJ RWKHU WKLQJV DQ LQWHUGHDOHU EURNHU IRU LQWHUHVW UDWH VZDSV 7KLV PHDQV WKDW

,&$3²XQOLNH 7KRPVRQ 5HXWHUV²ZDV JHQHUDWLQJ UHYHQXH E\ EURNHULQJ VZDSV DQG RWKHU LQWHUHVW

UDWH GHULYDWLYHV EHWZHHQ GHDOHUV ZKLOH DOVR DGPLQLVWHULQJ DQ LQWHUHVW UDWH EHQFKPDUN

            8QOLNH WKH SURFHVV IROORZHG E\ 7KRPVRQ 5HXWHUV ZKHQ FDOFXODWLQJ ,6'$IL[ UDWHV

IRU RWKHU FXUUHQFLHV 86' ,6'$IL[ UDWHV GXULQJ WKH &ODVV 3HULRG ZHUH FDOFXODWHG E\ ,&$3 ILUVW




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          ,6'$ +RZ GRHV ,6'$),; IL[" 5DWH 'HILQLWLRQ KWWSVZHEDUFKLYHRUJZHE
KWWSZZZLVGDRUJDVVHWFODVVHVLQWHUHVWUDWHVGHULYDWLYHVLVGDIL[
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          ,G HPSKDVLV DGGHG 


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Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 23 of 108
     Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 24 of 108




                                               23,1,21

,      7+( 86' ,6'$),; 5()(5(1&( 5$7( 352&(66 $1' '()(1'$176¶
        58%%(567$03,1* 35$&7,&( &5($7(' $1 23325781,7< )25
        0$1,38/$7,21

             +RZ UHIHUHQFH UDWHV ZHUH FDOFXODWHG $V VXPPDUL]HG DERYH WKH SURFHVV IRU

FDOFXODWLQJ ILQDO 86' ,6'$IL[ UDWHV ZDV XQLTXH EHFDXVH LW ZDV EDVHG RQ ,6'$IL[ UHIHUHQFH UDWHV

FLUFXODWHG E\ ,&$3 WR WKH 'HDOHU 'HIHQGDQWV VKRUWO\ DIWHU  DP ZKLFK ZHUH LQ WXUQ

GHWHUPLQHG E\ ,&$3 XVLQJ UDWHV GLVSOD\HG RQ WKH  6FUHHQ DW  DP

             +RZHYHU EHFDXVH 'HDOHU 'HIHQGDQWV FRXOG WUDGH LQ WKH PDUNHW ZKRVH UDWHV ZHUH

GLVSOD\HG RQ WKH  6FUHHQ WKH\ FRXOG WKXV DIIHFW ,6'$IL[ UHIHUHQFH UDWHV DQG WKXV DOVR

DIIHFW ILQDO ,6'$IL[ UDWHV 7KLV V\VWHP FUHDWHG DQ RSSRUWXQLW\ IRU 'HIHQGDQWV WR PDQLSXODWH WKH

,6'$IL[ UDWH VHWWLQJ SURFHVV LQ DW OHDVW WZR GLIIHUHQW ZD\V 7R H[SODLQ WKHVH WZR ZD\V , ZLOO ILUVW

H[SODLQ WKH UHODWLRQ EHWZHHQ LQWHUHVW UDWH VZDSV DQG 86 7UHDVXULHV

             $V SUHYLRXVO\ GLVFXVVHG WKH 86 7UHDVXULHV \LHOG LH WKH DQQXDO UHWXUQ WR WKH

KROGHU RI D 86 7UHDVXU\ H[SUHVVHG DV D SHUFHQWDJH RI WKH SXUFKDVH SULFH LV FRQVLGHUHG D SUR[\

IRU D WKHRUHWLFDO ³ULVN IUHH´ LQWHUHVW UDWH LH WKH WKHRUHWLFDO UDWH RI UHWXUQ RQ DQ LQYHVWPHQW ZLWK QR

FUHGLW ULVN 

             $FFRUGLQJO\ DV WKH ³ULVN IUHH´ UDWH JRHV XS RU GRZQ RQH FDQ H[SHFW SULYDWH SDUWLHV

 ZKR DUH W\SLFDOO\ QRW FRQVLGHUHG ³ULVN IUHH´ WR FKDUJH HDFK RWKHU PRUH RU OHVV DV ZHOO 7KLV

UHODWLRQ PHDQV WKDW WKH IL[HG LQWHUHVW UDWH SDLG LQ D SULYDWH WUDQVDFWLRQ FDQ DQG RIWHQ LV H[SUHVVHG

LQ WHUPV RI LWV ³VSUHDG´ RYHU WKH \LHOG FXUUHQWO\ SD\DEOH E\ 86 7UHDVXULHV RI WKH VDPH WHQRU

7KXV ZKHQ WUDGHUV GLVFXVV WKH IL[HG UDWH RQ D YDQLOOD VZDS WKH\ RIWHQ GR QRW TXRWH D VSHFLILF

SHUFHQW HJ ³´  5DWKHU WKH\ GLVFXVV WKH FXUUHQW ³VSUHDG´ DV PHDVXUHG LQ ³EDVLV SRLQWV´

        
            $V DOVR VXPPDUL]HG DERYH , KDYH EHHQ DVNHG WR DVVXPH WKDW WKH EDQNV DOPRVW DOZD\V
³UXEEHUVWDPSHG´ WKH UHIHUHQFH UDWHV DQG WKXV WKDW WKH ,6'$IL[ UHIHUHQFH UDWHV FLUFXODWHG E\ ,&$3 VKRUWO\
DIWHU  DP RQ D JLYHQ GD\ DOPRVW DOZD\V EHFDPH WKH ILQDO ,6'$IL[ UDWHV IRU WKDW GD\


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 25 of 108




WK RI D SHUFHQW  EHWZHHQ WKDW IL[HG UDWH DQG WKH 86 7UHDVXU\ \LHOG IRU WKH VDPH WHQRU HJ

³ DQG ´ ZKLFK ZRXOG HTXDO D VZDS UDWH RI  LI WKH 86 7UHDVXU\ \LHOG DW WKDW WLPH

ZDV  

            ,&$3¶V ³UHIHUHQFH UDWH´ FDOFXODWLRQ SURFHVV ZRUNHG LQ D VLPLODU ZD\ 7R

GHWHUPLQH WKH ³IL[HG UDWH´ RQ D VZDS ,&$3 ZRXOG WDNH WKH 7UHDVXU\ \LHOG IRU D JLYHQ WHQRU DW

 DP DQG WKHQ DGG WKH PDUNHW VZDS VSUHDG LH WKH DPRXQW RI \LHOG WKDW LQWHUHVW UDWH VZDS

PDUNHW SDUWLFLSDQWV ZHUH FKDUJLQJ HDFK RWKHU RQ WRS RI WKH 86 7UHDVXULHV \LHOG DW WKDW WLPH

            ,&$3 ZRXOG GHWHUPLQH WKH UHOHYDQW 7UHDVXULHV \LHOG E\ UHIHUHQFH WR H[HFXWHG

WUDGHV DQG H[HFXWDEOH ELGV DQG RIIHU GDWD DW  DP RQ ,&$3¶V HOHFWURQLF 7UHDVXULHV WUDGLQJ

SODWIRUP ³%URNHU7HF´ ,&$3 ZRXOG WKHQ SXOO WKH ³VZDS VSUHDG´ UDWH IURP WKH  6FUHHQ DW

 DP ZKLFK UHIOHFWHG WKH PRVW UHFHQW VZDS VSUHDGV REVHUYHG IURP FRPSOHWHG WUDGHV DQG

H[HFXWDEOH ELGV DQG RIIHUV LQ PDUNHW VL]H WKDW ZHUH EURNHUHG WKURXJK ,&$3

            7KH IROORZLQJ LV DQ H[DPSOH RI KRZ WKH  6FUHHQ ZRXOG ORRN




       
           %133B$.B 7KH ³WHQRU´ RI WKH VZDS LV GLVSOD\HG XQGHU WKH KHDGLQJ ³7HUP´ LQ
FROXPQ RQH 7KH 7UHDVXU\ UDWH LV GLVSOD\HG XQGHU ³7UHDVXU\´ LQ FROXPQ WZR 7KH 7UHDVXU\ \LHOG LV
GLVSOD\HG XQGHU ³<LHOG´ DQG ³0<LHOG´ LQ FROXPQV WKUHH DQG IRXU 7KH VZDS VSUHDG LV GLVSOD\HG XQGHU
³6ZDS ± 6SUHDG´ LQ FROXPQ ILYH


                                                 
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 26 of 108




       65.     As previously discussed, adding ICAP’s Treasuries yield to ICAP’s swap spread

results in a swap “rate” for the fixed leg of a fixed-for-LIBOR vanilla swap. It was this combined

sum that made up the ISDAfix “reference rate” for a given tenor of swap (together with the

underlying swap spread) and was circulated to the Dealer Defendants for them to accept, or

modify, and then to return to ICAP.

       66.     There were thus at least two opportunities for Dealer Defendants to impact the

reference rates: (1) engage in U.S. Treasuries buying and selling activity (impacting the baseline

Treasuries yield drawn from ICAP’s BrokerTec platform), or (2) engage in swaps buying and

selling activity through ICAP (impacting the swap rate or swap spread drawn from the 19901

Screen).

       67.     The distinction between “buying” and “selling” on rates versus yield. It is

important to recognize the distinction between buying and selling on rates versus buying and

selling on yields. One who purchases a debt instrument with a fixed rate will benefit if yields

drop, because the price of their security will rise in value as their contractual fixed rate is worth

more than the current market yield. In contrast, in swaps transactions, buyers of swap spreads pay

a fixed rate and will economically benefit if rates increase.

       68.     Accordingly, to move the BrokerTec component of a reference rate (i.e., the

Treasuries yield) up for a given tenor, one could put selling pressure on Treasuries of that same

tenor, by offering to accept lower and lower prices from purchasers, and thus produce higher

yields. To move the BrokerTec component of the ISDAfix reference rate down, one could put

buying pressure on Treasuries, by offering to pay higher and higher prices to buyers of the

Treasuries, which would thus produce lower yields.




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      Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 27 of 108




II.      EVIDENCE OF MANIPULATION ON SPECIFIC DAYS

         1)        UBS and RBS play

         69.       On May 10, 2006, shortly after 11:00 a.m.,                        (an ICAP broker)

emailed                                                                                             (all
                                                                                                    25
traders at Merrill Lynch) reporting that

         70.                 in this context refers to the 19901 Screen, which—as described above—

is used to set ISDAfix reference rates at 11:00 a.m. The reference to               is a reference to the

10 year tenor of interest rate swaps. The reference to                                    is a reference to

                                                                                              Thus, when

ICAP’s language is deciphered, it reveals



         71.       ICAP’s trading data show that on May 10, 2006, UBS sold                        in

notional in 10 year swaps.26 UBS’s transactions would have had the effect of pushing down the

rate for 10 year swaps. ICAP’s trading data show that on May 10, 2006, RBS bought

in notional in 10 year swaps.27 ICAP’s trading data also show that between 10:59 and 11:00 a.m.

on this day, RBS sold a net amount of                     notional in 10 year tenor Treasuries. RBS’s

transactions would have had the effect of pushing the rate for 10 year swaps higher.

         2)        Barclays and ICAP


         72.       On July 26, 2006, two Barclays traders admitted to                 (at ICAP) that

Barclays                                          In response,       asked

                                                                       One of the traders responded that


         25
              ICM-001514434.
         26
              These transactions are timestamped 11:17 a.m., 11:23 a.m., and 11:24 a.m.
         27
              This transaction is timestamped 11:23 a.m.


                                                     22
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 28 of 108



                                             28
he did                                            Closer to 11:00 a.m.,       discussed with the broker
                                             29
when to            versus when to

         73.      ICAP’s trading data show that on July 26, 2006, Barclays sold                       in

notional in 10 year swaps around 11:00 a.m.30 This transaction would have had the effect of

pushing down the rates for 10 year swaps.

         3)       Barclays tells ICAP:


         74.      At 10:54 a.m. on January 4, 2007,               (of Barclays) had the following

exchange with                 (at ICAP):31




         75.      The reference to the trades being                         indicates that      was

                                                      . The references to

                                                                   are ICAP asking

                                                                                             and to

         28
               BARC-IFX_00075846; BARC-IFX-C_00000329 (emphasis added).
         29
               BARC-IFX-C_00000330 (emphasis added).
         30
               This transaction is timestamped 11:19 a.m.
         31
               ICM-001460607, ICM-001460608 (emphasis added).


                                                      23
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 29 of 108




                        LV %DUFOD\V¶ FRQILUPDWLRQ WKDW

                                                                       

              $W  DP DIWHU EHLQJ LQIRUPHG VRPHRQH ZDV

                         6RPHRQH DJDLQ                             LQ UHVSRQVH WR ZKLFK




                                +H WKHQ EURNH WR VD\
                                         



              ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ -DQXDU\   %DUFOD\V VROG                        LQ

QRWLRQDO LQ  \HDU VZDSV DURXQG  DP ,&$3¶V WUDGLQJ GDWD DOVR VKRZ WKDW EHWZHHQ 

DQG  DP RQ WKLV GD\ %DUFOD\V ERXJKW D QHW WRWDO RI                             RI  \HDU

7UHDVXULHV &RPELQHG WKHVH WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ GRZQ WKH UDWHV IRU

 \HDU VZDSV

                *ROGPDQ WHOOV ,&$3

              2Q -DQXDU\   WKH *ROGPDQ 2SWLRQV 'HVN KDG FHUWDLQ FOLHQWIDFLQJ LQWHUHVW

UDWH SURGXFWV WKDW SULFHG EDVHG RQ WKH GLIIHUHQFHV EHWZHHQ  \HDU DQG  \HDU ,6'$IL[ UDWHV

$W  DP D *ROGPDQ WUDGHU FDOOHG                     RI ,&$3 



              7KH UHIHUHQFH WR        LV D UHIHUHQFH WR WKH UDWH IRU LQWHUHVW UDWH VZDSV LQ WKH 

\HDU WHQRU 7KH UHIHUHQFH WR             LV D UHIHUHQFH WR WKH UDWH IRU LQWHUHVW UDWH VZDSV LQ WKH 



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             ,&0
       
             7KHVH WUDQVDFWLRQV DUH WLPHVWDPSHG EHWZHHQ  DP DQG  DP
       
             6HH WKH *6 &)7& 2UGHU DW  'HF   


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Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 30 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 31 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 32 of 108




                                                                +RZHYHU WKH WUDGHU EHOLHYHV WKDW




             $V GLVFXVVHG DERYH ,&$3¶V ³VFUHHQV´ DUH XSGDWHG PDQXDOO\ E\ D SHUVRQ ZKR

HQWHUV WUDQVDFWLRQ UDWHV LQWR ,&$3¶V V\VWHPV NQRZQ DV WKH ³VFUHHQ JX\´ 




    +H LV FRQFHUQHG RQO\ ZLWK
                                                                            



       




                                                          



             ,Q WKH SKRQH FDOO GLVFXVVHG DERYH




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             ,G 7U 
       
             *6,6'$),;&,9,/ ,&0 ,&0 HPSKDVLV DGGHG 
       
             6HH 'HSRVLWLRQ RI           -DQ    7U 
       
             ,&0 HPSKDVLV DGGHG 


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Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 33 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 34 of 108




then in turn yells out to other brokers at ICAP

                              .46

       91.       ICAP’s trading data show that on January 30, 2007, RBS sold

notional 2 year swaps,47 and Barclays sold                  notional in 2 year swaps,48 around 11:00

a.m. ICAP’s trading data also show that, between 10:59 and 11:00 a.m. on this day, RBS bought

just over a net amount of              in notional of 2 year Treasuries. Combined, these transactions

would have had the effect of pushing down the rates for 2 year swaps.

       7)        Barclays tells ICAP


       92.       On March 14, 2007, around 10:53 a.m.,                    (of Barclays) called an

ICAP broker. The ICAP broker asked




                                                           50



       93.       The reference to                   is a reference to

                         . The reference to not                            , and to

                                are references to

                      The reference to              indicates that Barclays was




       46
             ICM-001466389.
       47
             The transaction is timestamped 11:04 a.m.
       48
             The transaction is timestamped 11:07 a.m.
       49
             The broker’s statement


       50
             BARC-IFX-C_00000311 (emphasis added).


                                                    29
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 35 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 36 of 108




              7KH ZRUG            KHUH DV QRWHG UHIHUV WR

                                                                  7KXV

      UHIHUV WR -30RUJDQ LQGLFDWLQJ

                     7KLV LQGLFDWLRQ KDG                         DQ ,&$3 EURNHU ZKR GHDOW H[WHQVLYHO\

ZLWK -30RUJDQ                LH WKDW KH EHOLHYHG WKDW

                                         

              7KH FRQYHUVDWLRQ LQGLFDWHV LW LV FRQVLGHUHG EDVLF NQRZOHGJH

                      WKDW EHFDXVH




             ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 0D\   -30RUJDQ VROG                       LQ

QRWLRQDO LQ  \HDU VZDSV DURXQG  DP ,&$3¶V WUDGLQJ GDWD DOVR VKRZ WKDW EHWZHHQ 

DQG  DP RQ WKDW GD\ -30RUJDQ ERXJKW D QHW DPRXQW RI                         LQ QRWLRQDO RI  \HDU

7UHDVXULHV &RPELQHG WKHVH WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ GRZQ WKH UDWHV IRU

 \HDU VZDSV

                'HXWVFKH %DQN

             2Q 0D\                             DQ ,&$3 EURNHU WROG YDULRXV 0HUULOO /\QFK

WUDGHUV WKDW 'HXWVFKH %DQN ZDV HQJDJLQJ LQ



             7KH UHIHUHQFH WR                    LQGLFDWHG WKDW ,&$3 EHOLHYHG WKDW 'HXWVFKH ZDV

                                                                       7KH UHIHUHQFH WR 'HXWVFKH

       
             7KHVH WUDQVDFWLRQV DUH WLPHVWDPSHG EHWZHHQ  DP DQG  DP


                                                     
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 37 of 108




%DQN KDYH         5%6 DQG /HKPDQ LQGLFDWHV WKDW

                                                                                           

             ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 0D\   'HXWVFKH VROG                        LQ

QRWLRQDO LQ  \HDU VZDSV DURXQG  DP ,&$3¶V WUDGLQJ GDWD DOVR VKRZ WKDW EHWZHHQ 

DQG  DP RQ WKDW GD\ 'HXWVFKH ERXJKW D QHW DPRXQW RI                     LQ QRWLRQDO RI  \HDU

7UHDVXULHV &RPELQHG WKHVH WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ GRZQ WKH UDWHV IRU

 \HDU VZDSV

               5%6 DQG ,&$3


             2Q -XQH                   RI ,&$3 PHVVDJHG                              DOVR RI
                                                                                           
,&$3 DURXQG  DP VWDWLQJ
                                            
7KRPSVRQ UHSOLHG

             7KDW VDPH PRUQLQJ                   D 5%6 WUDGHU VSRNH ZLWK VHYHUDO RWKHU 5%6

WUDGHUV WR GLVFXVV                                       2QH 5%6 WUDGHU RQ WKH FDOO GHFODUHG



                                                                                               



                                                                                                      




             /DWHU          VWDWHG K                                                                  



       
            ,&0
       
            7KHVH WUDQVDFWLRQV DUH WLPHVWDPSHG  DP  DP  DP DQG  DP
       
            ,&0
       
            ,&0


                                                   
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 38 of 108




                                                                                 This conversation

continued, in similar terms, with the RBS traders agreeing that:




                                                                                          One of the

RBS traders participating in this call even noted that
                                59


       107.    That ICAP was told

                          As discussed above, ICAP’s screens are updated manually, and thus




       108.    The reference to                             shows that RBS and ICAP had agreed to

                                                      The reference to the fact that the trading




                                                  further shows that this activity was intended to

affect swap rates immediately before 11:00 a.m.

       109.    Each of these statements, and especially the combination of them when viewed as

a whole, shows clearly that




       59
            RBS-Alaska-ISDA-AUD-000021118 (emphasis added).


                                                 33
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 39 of 108




             5%6 FRPPXQLFDWLRQV VKRZ WKDW WKH 5%6 WUDGHUV EHJDQ SODQQLQJ WKH -XQH 

DFWLYLW\ DV HDUO\ DV WKH GD\ EHIRUH ,Q FRPPXQLFDWLRQV RQ -XQH   5%6 WUDGHUV SODQQHG

GLVFXVVHG DQG DJUHHG ZKDW WKH\ ZRXOG GR WKH QH[W GD\


             x



             x



             x




             x



             x



             7KHVH VWDWHPHQWV DQG DGPLVVLRQV DJDLQ GHPRQVWUDWH WKDW 5%6 ZDV DWWHPSWLQJ WR

PRYH UDWHV RQ  6FUHHQ LQ RUGHU WR LQIOXHQFH ,6'$IL[ UDWHV 7KH H[SUHVVLRQV



                                            7KH VWDWHPHQWV DERXW



                    7KH UHIHUHQFHV WR



        
           5%6$ODVND,6'$$8' 5%6$ODVND,6'$$8' 7KHVH
GLVFXVVLRQV EHWZHHQ WKH 5%6 WUDGHUV FRQWLQXHG DORQJ VLPLODU OLQHV IRU VHYHUDO PRUH PLQXWHV , OLVW RQO\ D
VDPSOH RI WKH ODQJXDJH XVHG KHUH


                                                    
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 40 of 108
    Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 41 of 108




      $W  DP                 DVNHG                                                        UHSOLHG
                             



             ,Q WKLV FRQWH[W            UHIHUUHG WR \HDU VZDS UDWHV               UHIHUHQFH WR



                   7KH UHIHUHQFHV WR                EHLQJ DEOH WR                            PHDQW WKDW



UHIHUHQFHV WR                        VKRUWO\ EHIRUH  DP SOXV                UHIHUHQFH WR WKH WUDGHV

EHLQJ                                GHPRQVWUDWH WKDW %DUFOD\V DQG ,&$3 ZHUH



                                                                                 

             $Q HPDLO IURP                              %DUFOD\V RSWLRQV GHVN WR             D WUDGHU RQ

%DUFOD\V¶ 86 7UHDVXULHV GHVN FRQILUPV WKDW WKH SXUSRVH RI WKHVH 7UHDVXULHV WUDGHV ZDV

G

                                                               



                                                                           
                                                                                $W DURXQG  DP

VRXJKW FRQILUPDWLRQ WKDW                    ZDQWHG KLP WR
                 
UHSOLHG




          
           6HH 2UGHU ,Q WKH 0DWWHU RI %DUFOD\V 3/& %DUFOD\V %DQN 3/& DQG %DUFOD\V &DSLWDO ,QF
&)7& 'NW 1R  DW  0D\    KWWSZZZFIWFJRYLGFJURXSV SXEOLF
#OUHQIRUFHPHQWDFWLRQVGRFXPHQWVOHJDOSOHDGLQJHQIEDUFOD\VRUGHUSGI %$5&,);B
       
           6HH 2UGHU ,Q WKH 0DWWHU RI %DUFOD\V 3/& %DUFOD\V %DQN 3/& DQG %DUFOD\V &DSLWDO ,QF
&)7& 'NW 1R  DW  0D\   HPSKDVLV DGGHG  KWWSZZZFIWFJRYLGFJURXSVSXEOLF
#OUHQIRUFHPHQWDFWLRQVGRFXPHQWVOHJDOSOHDGLQJHQIEDUFOD\VRUGHUSGI
       
           %$5&,);B


                                                       
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 42 of 108




       116.     ICAP’s trading data show that June 25, 2007, Barclays                          in

notional in 5 year swaps around 11:00 a.m.67 ICAP’s trading data also show that, between 10:59

and 11:00 a.m. on this day, Barclays sold a net amount of                  in notional of 5 year

Treasuries. Combined, these transactions would have had the effect of pushing up the rate of 5

year swaps.

       12)      ICAP


       117.     On July 9, 2007, around 11:23 a.m.,                  (of ICAP) and                  (of

Goldman) had the following exchange:68




       118.     Here, ICAP is



       119.     The trader complained, however, that




                              Relatedly,                                 refers to the fact that ICAP



                          In short, the Goldman trader

       67
            These transactions are timestamped between 11:16 a.m. and 11:18 a.m.
       68
            GS-ISDAFIX-CIVIL-00244217 (emphasis added).


                                                  37
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 43 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 44 of 108




to making sure                                                          The                         is,

again,




         123.     The recording is then silent for a while, before            (Barclays) urgently

instructs:71




         124.     The urgency of the timing again indicates the purposes of these trades centers

around 11:00 a.m., i.e., when ISDAfix reference rates are set. The fact the instruction is focused




         125.      As 11:00 a.m. approaches,             again instructs:

                             asks                             and           explains that




                             he asks:


         71
              Id. (emphasis added).


                                                    39
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 45 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 46 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 47 of 108




       16)     Morgan Stanley tells ICAP that


       133.    On March 3, 2008, around 10:47 a.m.,                     (of ICAP) told

(the ICAP broker with primary responsibility for Morgan Stanley) that at
                          77


       134.    Based on my experience, in this context                           clearly refers to the

15 year tenor on the 19901 Screen.        admitted at his deposition that



                               .78

       135.    ICAP’s trading data show that Morgan Stanley on March 3, 2008, bought

        in notional in 15 year swaps around 11:00 a.m.79 That transaction was the only

transaction in this tenor brokered by ICAP that day, and would have had the effect of pushing up

the rates for 15 year swaps.

       17)     Credit Suisse thanks ICAP


       136.    On March 12, 2008, at 1:16 p.m.,                   (of Credit Suisse) and

       (of ICAP) had the following exchange:80




       77
           ICM-001511376.          testified that      was a trader at Morgan Stanley.     also
confirmed that this request had been made to                while                                 Tr.
265:20-267:10.
       78
                Tr. 267:7-10 & 268:15-269:10.
       79
           The transaction is timestamped 11:09 a.m.
       80
           ICM-000092023 (emphasis added).


                                                  42
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 48 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 49 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 50 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 51 of 108




            7KH VWDWHPHQW                                        LQGLFDWHV &




                                                                                     7KXV




                 WKHQ LQTXLUHV                                                             7KDW




                                                                                 $FFRUGLQJO\ DQ




            :KHQ FRQIURQWHG ZLWK D WUDQVFULSW RI WKLV FRQYHUVDWLRQ      FODLPHG WKDW

                                                                                         %XW LW LV

QRW FRQVLVWHQW ZLWK LQGXVWU\ KHGJLQJ SUDFWLFH

                                                                      )XUWKHU          WHVWLILHG WKDW

       
            'HSRVLWLRQ RI             -XQ    7U 




                                                   
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 52 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 53 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 54 of 108




       157.     ICAP’s trading data show that on June 6, 2008, Citi purchased                   in

notional in 2 year swaps around 11:00 a.m.95 Combined, these transactions would have had the

effect of pushing up rates for 2 year swaps.

       23)      ICAP agrees with Barclays


       158.     On July 17, 2008, at 11:05 a.m.                       (of Barclays) discussed the 2

year tenor rates with              (of ICAP).        said that




                                                                          96



       159.     At 11:12 a.m.,                  (of ICAP) sent a message to               (of




                      97



       160.     In his exchange with



                                                                 In his exchange with




       95
            These transactions are timestamped between 11:04 a.m. and 11:06 a.m.
       96
            BARC-IFX-C_00000038.
       97
            GS-ISDAFIX-CIVIL-00003352.


                                                   49
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 55 of 108




           ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ -XO\   *ROGPDQ SXUFKDVHG

LQ QRWLRQDO LQ  \HDU VZDSV DURXQG  DP 7KLV WUDQVDFWLRQ ZRXOG KDYH KDG WKH HIIHFW RI

SXVKLQJ XS WKH UDWHV IRU  \HDU VZDSV

             %133 DJUHHV LQWHUQDOO\ WKDW

           2Q -XO\                      RI %133 DQG                          DOVR RI

%133 GLVFXVVHG

                                                                                $IWHU  DP

*DXEHUW UHSRUWHG WKDW WKH

                                                                      

           $V GLVFXVVHG DERYH WKH UHODWLRQVKLS EHWZHHQ UDWHV LQ WZR GLIIHUHQW WHQRUV LV VDLG WR

EH ³IODW´ ZKHQ WKH UDWHV DUH FORVH WRJHWKHU 7KH H[FKDQJH EHWZHHQ                                  WKXV

VKRZV WKDW                  ZDQWHG WKH  \HDU DQG  \HDU ,6'$IL[ UDWHV WR EH FORVHU WRJHWKHU



                GHPRQVWUDWHV WKDW            ZDV DWWHPSWLQJ WR DFKLHYH WKLV E\ XVLQJ DV OLWWOH µDPPR¶

DV SRVVLEOH

           ,&$3¶V WUDGLQJ GDWD VKRZV WKDW RQ -XO\   %133 SXUFKDVHG                     LQ

QRWLRQDO LQ  \HDU VZDSV DQG VROG                LQ QRWLRQDO LQ  \HDU VZDSV DURXQG  DP

&RPELQHG WKHVH WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ XS WKH UDWHV IRU  \HDU VZDSV

DQG SXVKLQJ GRZQ WKH UDWHV IRU  \HDU VZDSV




       
            7KLV WUDQVDFWLRQ LV WLPHVWDPSHG  DP
       
            %133B$.B HPSKDVLV DGGHG  7KH  \HDU WUDGH LV WLPHVWDPSHG  DP 7KH 
\HDU WUDGH LV WLPHVWDPSHG  DP
        
             7KHVH WUDQVDFWLRQV DUH WLPHVWDPSHG  DP DQG  DP


                                                  
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 56 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 57 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 58 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 59 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 60 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 61 of 108




          




                                                      ,Q FRQWH[W




               ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 1RYHPEHU   EHWZHHQ  DQG 

DP &LWL VROG D QHW DPRXQW RI               LQ QRWLRQDO RI  \HDU 7UHDVXULHV &RPELQHG WKHVH

WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ XS UDWHV IRU  \HDU VZDSV

                 &UHGLW 6XLVVH

               2Q 1RYHPEHU                  RI ,&$3 ZDV UHFRUGHG VD\LQJ WKDW



    



               7KH UHIHUHQFH WR                                     VKRZV WKDW &UHGLW 6XLVVH

                                                              7KH UHIHUHQFH WR



                      $QG WKH UHIHUHQFH WR                                 UHYHDOV WKDW &UHGLW 6XLVVH



                       


          
                &LWL,6'$),;&LYLO HPSKDVLV DGGHG 
          
                %$5&,);&B HPSKDVLV DGGHG 


                                                   
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 62 of 108




            ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 1RYHPEHU   &UHGLW 6XLVVH ERXJKW

       LQ QRWLRQDO LQ  \HDU VZDSV DURXQG  DP &RPELQHG WKHVH WUDQVDFWLRQV ZRXOG

KDYH KDG WKH HIIHFW RI SXVKLQJ XS UDWHV IRU  \HDU VZDSV

              &LWL WUDGHUV

            2Q -DQXDU\                       RI &LWL DSSURDFKHG                 DOVR RI &LWL 




                                                                                 



                       LQTXLU\ WR          VKRZV WKDW RQ -DQXDU\           




       

                                5DWKHU




       
             7KHVH WUDQVDFWLRQV DUH WLPHVWDPSHG  DP DQG  DP
       
             &LWL,6'$),;&LYLO


                                                   
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 63 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 64 of 108




       34)      Goldman tells ICAP:


       196.     On March 16, 2009,              (of Goldman) sent a message to                  (of

ICAP) making plain,

                  ”126 After the reference rates were set, ICAP informed         that as of 11:17

a.m. he was
                                                                    127



       197.     The reference to




       198.




                        apparently on the basis that




       126
             ICM-000071876 (emphasis added).
       127
             ICM-000263749.


                                                59
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 65 of 108




       199.     ICAP’s trading data show that on March 16, 2009, Goldman sold                in

notional in 10 year swaps around 11:00 a.m.128 ICAP’s trading data also show that, between

10:59 and 11:00 a.m. on that day, Goldman sold a net amount of              in notional of 5 year

Treasuries and bought a net amount of       million in notional of 10 year Treasuries. Combined,

these transactions would have had the effect of pushing up rates for 5 year swaps and pushing

down rates for 10 year swaps.

       35)      Barclays has


       200.     On November 12, 2009,                         and an ICAP broker had the

following exchange, beginning around 10:56 a.m.:129




       128
             This transaction is timestamped 11:02 a.m.
       129
             BARC-IFX-C_00000517; BARC-IFX_00012543


                                               60
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 66 of 108




            7KH WUDGHU¶V IRFXV LV



                  7KHUH LV DOVR WKH WLPLQJ GLPHQVLRQ



            7KH WUDGHU




        $W WKH HQG RI WKH FRQYHUVDWLRQ²VWLOO EHIRUH  DP²WKH WUDGHU FRQILUPV



            ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 1RYHPEHU   %DUFOD\V VROG

LQ QRWLRQDO LQ  \HDU VZDSV DURXQG  DP ,&$3¶V WUDGLQJ GDWD DOVR VKRZ WKDW EHWZHHQ

 DQG  DP RQ WKLV GD\ %DUFOD\V ERXJKW D QHW DPRXQW RI                   LQ QRWLRQDO RI 

\HDU 7UHDVXULHV &RPELQHG WKHVH WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ GRZQ WKH

UDWH RI  \HDU VZDSV

              *ROGPDQ WHOOV ,&$3

            2Q 'HFHPEHU   DW DSSUR[LPDWHO\  DP                    *ROGPDQ 6DFKV

VHQW D PHVVDJH WR                   ,&$3 EURNHU VD\LQJ

        DW DSSUR[LPDWHO\  DP           UHVSRQGHG
                                      
                                            /DWHU WKDW GD\ DW DSSUR[LPDWHO\  SP    VHQW DQ


       
             7KLV WUDQVDFWLRQ LV WLPHVWDPSHG  DP
       
             ,&0


                                                     
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 67 of 108




                             



             7KH UHIHUHQFH WR *ROGPDQ                                                      LV D

UHIHUHQFH WR

UHVSRQVH WKDW WKLV ZRXOG



                                          7KH UHIHUHQFH WR KDYLQJ             DQG




            ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 'HFHPEHU   *ROGPDQ ERXJKW

       LQ QRWLRQDO LQ  \HDU VZDSV DURXQG  DP ,&$3¶V WUDGLQJ GDWD DOVR VKRZ WKDW

EHWZHHQ  DQG  DP RQ WKDW GD\ *ROGPDQ ERXJKW D QHW DPRXQW RI                  LQ

QRWLRQDO RI  \HDU 7UHDVXULHV &RPELQHG WKHVH WUDQVDFWLRQV ZRXOG KDYH KDG WKH HIIHFW RI SXVKLQJ

GRZQ WKH UDWHV IRU  \HDU VZDSV DQG SXVKLQJ XS WKH UDWHV IRU  \HDU VZDSV

              %DUFOD\V WHOOV ,&$3 WR

            2Q $SULO              RI %DUFOD\V LQIRUPHG DQ ,&$3 EURNHU

                       $W  DP WKH EURNHU LQTXLUHV
                                                                     



            $V LQ RWKHU H[DPSOHV GLVFXVVHG DERYH %DUFOD\V¶ UHIHUHQFH WR ZDQWLQJ WR

             PHDQV WKDW

      7KH UHVSRQVH IURP ,&$3 GHPRQVWUDWHV WKDW

       
             *6,6'$),;&,9,/
       
             7KH WUDQVDFWLRQ LV WLPHVWDPSHG  DP
       
             %$5&,);&B HPSKDVLV DGGHG 


                                                  
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 68 of 108




                                                                                 In this instance,

Barclays



       209.     ICAP’s trading data show that on April 26, 2010, Barclays sold net                   in

notional in 10 year swaps around 11:00 a.m.135 ICAP’s trading data also show that, between

10:59 and 11:00 a.m. on that day, Barclays bought a net amount of                in notional of 10

year Treasuries. Combined, these transactions would have had the effect of pushing down rates

for 10 year swaps.

       38)      Barclays tells ICAP


       210.     On August 10, 2010, in various recorded conversations between Barclays traders

and ICAP, a Barclays trader asked to be picked up (i.e., taken




                                                                                              136


       211.     The reference to                                shows that Barclays was concerned




       135
             These transactions are timestamped 11:12 a.m. and 11:13 a.m.
       136
             BARC-IFX_00063898.


                                                   63
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 69 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 70 of 108




                             WKHQ WXUQHG WR WKH IDFWV RI WKH   DERXW ZKLFK

          KDG ILUVW LQTXLUHG




        ,Q WKH ILUVW H[FKDQJH   LV DVNLQJ




                                             
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 71 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 72 of 108




                      DGPLWWHG WKDW KH

                                 :KHQ              SUHVVHG     DW 'HXWVFKH




                                                                 


                                                                          
           ,Q UHVSRQVH²DIWHU VXJJHVWLQJ WKDW                                ²

      'HXWVFKH %DQN MRLQHG D FDOO ZLWK               DQG        DOVR DW

'HXWVFKH %DQN  2Q WKDW FDOO




                           



                  VXJJHVWLRQ WKDW




       
             '%6'1<,6'$),;B
       
             ,G
       
             ,G
       
             '%6'1<,6'$),;B


                                              
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 73 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 74 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 75 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 76 of 108




            0XFK LQ WKLV FRQYHUVDWLRQ LV QRW FRQVLVWHQW ZLWK LQGXVWU\ SUDFWLFH LQ WHUPV RI KRZ

WUDGHUV ZRXOG GLVFXVV D WUDGH GRQH IRU KHGJLQJ RU RWKHU OHJLWLPDWH SXUSRVHV 7R WKH FRQWUDU\

ZKHQ WKH MDUJRQ LV GHFLSKHUHG WKLV H[FKDQJH UHYHDOV WKDW WKH




            7KLV FRQYHUVDWLRQ DOVR UHYHDOV




            7KH SXUSRVH RI                            LV DOVR UHYHDOHG E\ WKH UHIHUHQFH WR



                     
                           ,I D WUDGHU ZHUH RQO\ KHGJLQJ KH RU VKH ZRXOG ZDQW WKH ORZHVW VZDS UDWH

SRVVLEOH DQG



                  $ VWDWHPHQW

        
            3XUVXDQW WR WKH VKRUWKDQG SUDFWLFHV GLVFXVVHG DERYH ³HLJKW SULQW´ ZRXOG UHIHU WR D UDWH RU
VSUHDG VXUURXQGLQJ WKH NH\ ILJXUH RI ³´


                                                     
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 77 of 108




                                                                    

             7KH %DUFOD\V WUDGHU              DQG WKH ,&$3 EURNHU KDG D IROORZXS FDOO

EHJLQQLQJ DW  DP




             7KLV IROORZXS FDOO LV WHOOLQJ IRU VHYHUDO UHDVRQV +HUH DJDLQ




                                       

             ,&$3¶V WUDGLQJ GDWD VKRZ WKDW RQ 0DUFK   %DUFOD\V VROG                LQ

QRWLRQDO LQ  \HDU VZDSV DQG SXUFKDVHG                   LQ QRWLRQDO LQ  \HDU VZDSV DURXQG 

DP ,&$3¶V WUDGLQJ GDWD DOVR VKRZ WKDW EHWZHHQ  DQG  DP RQ WKDW GD\ %DUFOD\V


       
             %$5&,);&B HPSKDVLV DGGHG 
       
             7KHVH WUDQVDFWLRQV DUH WLPHVWDPSHG  DP DQG  DP


                                                   
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 78 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 79 of 108
     Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 80 of 108




             +RZHYHU LW LV QRW FRQVLVWHQW ZLWK LQGXVWU\ KHGJLQJ SUDFWLFH WR VHHN WR HIIHFW

GLUHFWLRQDO FKDQJH RI SULFHV LQ WKH PDUNHW LQ ZKLFK \RX DUH VHHNLQJ WR H[HFXWH WKH KHGJLQJ

WUDQVDFWLRQ /HJLWLPDWH KHGJLQJ LQ UHVSHFW RI LQWHUHVW UDWH GHULYDWLYH SRVLWLRQV VKRXOG KDYH

QRWKLQJ WR GR ZLWK DFKLHYLQJ SULFH PRYHPHQWV RQ WKH  6FUHHQ RU DFKLHYLQJ SDUWLFXODU

,6'$IL[ UDWHV 7KXV LW LV QRW FRQVLVWHQW ZLWK LQGXVWU\ KHGJLQJ SUDFWLFH WR GLVFXVV WUDGHV LQ WHUPV
                                            
RI                                                RU LQ WHUPV RI ZDQWLQJ WR VHH SULFHV EHLQJ

                                                          DQG HVSHFLDOO\ QRW WR KDYH WKHVH HIIHFWV RFFXU

DV FORVH DV SRVVLEOH WR  DP 5DWKHU ODQJXDJH LQGLFDWLQJ WKDW D WUDGHU RU EURNHU LV IRFXVHG

RQ WKH GLUHFWLRQDO LPSDFW D WUDGH ZLOO KDYH RQ WKH  6FUHHQ DW  DP LV PRUH FRQVLVWHQW

ZLWK DQ DWWHPSW WR PRYH ,6'$IL[ UHIHUHQFH UDWHV WR DUWLILFLDO OHYHOV

             7KLUG DQG VLPLODUO\ LW ZRXOG EH FRQVLVWHQW ZLWK LQGXVWU\ SUDFWLFHV IRU D SDUW\

DWWHPSWLQJ WR KHGJH WKHLU ULVN WR GLVFXVV ZLWK WKHLU EURNHU WKH QRWLRQDO YDOXH RI WKH WUDQVDFWLRQV

WKDW WKH WUDGHU ZDQWV WR HQWHU LQWR LQ RUGHU WR DFKLHYH WKDW KHGJH HJ IRU D WUDGHU WR LQVWUXFW D

EURNHU WKDW WKH\ QHHGHG WR EX\ RU VHOO D VHW YDOXH RI VZDSV LQ RUGHU WR DFKLHYH WKH KHGJH  ,QGHHG

WKH YROXPH RI WKH WUDQVDFWLRQV WKDW D SDUW\ QHHGV WR HQWHU LQ RUGHU WR KHGJH LV W\SLFDOO\ YHU\ ZHOO

       
           6HH HJ %$5&,);B LQYROYLQJ %DUFOD\V RQ 1RYHPEHU  
       
           6HH HJ H[DPSOHV IRU %DUFOD\V 1RYHPEHU  
                   &LWL $SULO   GLVFXVVLQJ KRZ WR                              5%6 -XQH  
 GLVFXVVLQJ SODQ WR                                      8%6 $SULO   GLVFXVVLQJ KRZ WR JHW WKH
                           :HOOV )DUJR )HEUXDU\   GLVFXVVLQJ DQ DWWHPSW WR                              
%DUFOD\V 0DUFK   UHIHUULQJ WR                                              &LWL 'HFHPEHU  
 UHIHUULQJ WR                                             *ROGPDQ $SULO   *ROGPDQ WUDGHU
LQVWUXFWLQJ FROOHDJXHV WR                                                           %DUFOD\V 6HSWHPEHU 
 GLVFXVVLQJ                                                DQG                       %DUFOD\V 1RYHPEHU
  UHIHUULQJ WR ³                                               &LWL 1RYHPEHU   UHIHUULQJ WR
                                 %DUFOD\V $XJXVW   UHIHUULQJ WR
         ZLWK %DUFOD\V JLYLQJ ,&$3
%DUFOD\V KDG                         
       
           5%6 -XQH   GLVFXVVLQJ                                                             &LWL -XQH
  GHVFULELQJ SODQ WR                                                                      %DUFOD\V
$SULO   UHIHUULQJ WR                                                                6HH DOVR %$5&
,);  LQYROYLQJ %DUFOD\V RQ 1RYHPEHU   ,&$3 DJUHHLQJ WKDW
                                                                     


                                                        
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 81 of 108
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 82 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 83 of 108




%133 5%6 *ROGPDQ KDG DQ RSHQ FRQYHUVDWLRQ DERXW                                               7KH



                                                    7KLV VXJJHVWV WKDW DEVHQW DQ\ QHZ DJUHHPHQW WKH

GHDOHUV ZHUH LQYHVWLQJ D



            2Q $SULO                       RI %DUFOD\V ZDV LQYROYHG LQ D %ORRPEHUJ FKDW

ZLWK DQ XQLGHQWLILHG SHUVRQ         VWDWHG WKDW

               7KH RWKHU SHUVRQ UHVSRQGHG
        
              7KLV H[FKDQJH DJDLQ VKRZV WKDW

                      ZLWK ,6'$IL[ UDWHV

            2Q $SULO                            RI %DUFOD\V FDOOHG                RI ,&$3

DQG H[SUHVVHG FRQFHUQ WKDW

             ,Q UHVSRQVH
                                                                         
                                                                               7KLV FRPPXQLFDWLRQ LV

DJDLQ D GLUHFW DGPLVVLRQ WKDW ,&$3 NQHZ WKH 'HDOHU 'HIHQGDQWV

                            

            2Q -XQH   DURXQG  DP                             RI ,&$3 ZURWH WR KLV

IROORZ EURNHU                   QRWLQJ WKDW                                    UHVSRQGHG
                                                                   
                                                                         7KLV H[FKDQJH VKRZV ,&$3




       
             %$5&,);B
       
             %$5&,);B
       
             ,&0


                                                     
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 84 of 108




            %HWZHHQ 'HFHPEHU  DQG   LQ D VHULHV RI HPDLOV %133 HPSOR\HHV

                     'HSXW\ +HDG RI 86' 2SWLRQV DQG ([RWLFV 7UDGLQJ DQG

              FUHDWHG DQG GLVFXVVHG D
                                               
                                                     ,Q RWKHU ZRUGV %133¶V KHDG RI 2SWLRQV

7UDGLQJ ZDV WU\LQJ WR



            6LPLODUO\ RQ 'HFHPEHU   LQ D VHULHV RI HPDLOV ZLWK

              RSLQHG WKDW                                                            LQ UHVSRQVH WR
                                                                                               


7KLV LV D GLUHFW DGPLVVLRQ WKDW %133 ZDV



            2Q -XO\               RI 5%6 LQIRUPHG                   RI *ROGPDQ KH ZDV

JRLQJ WR                                                QRWHG
                                    
                                            UHVSRQGHG E\ VXJJHVWLQJ WKDW



                                                                 
                                                                       7KLV H[FKDQJH VKRZV WKH

'HDOHU 'HIHQGDQWV                                                                    

            2Q $XJXVW                    RI :HOOV )DUJR ZURWH WR             DOVR RI

:HOOV )DUJR VD\LQJ




       
             %133B$.B
       
             %133B$.B HPSKDVLV DGGHG 
       
             5%6$ODVND,6'$
       
             5%6$ODVND,6'$


                                                
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 85 of 108




                 173
                       This shows that traders were aware




      256.     On November 14, 2008,                                (Citi) emailed other traders saying



                                     174
                                           The reference to




      257.     On June 14, 2010, at 11:00:56,                    (at JP Morgan) asked:

                                                                    (also at JP Morgan) replied:



                 As revealed by this same conversation, Smith believed this kind of activity
                                            175
occurred                                          This conversation demonstrates both that such



      173
            AK-WF00029135 (emphasis added).
      174
            Citi-ISDAFIX-Civil-00073926 (emphasis added).
      175
            JPMC-ISDA00016919.


                                                     80
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 86 of 108




               2Q $SULO                   RI :HOOV )DUJR  LQ D FKDW URRP ZLWK RWKHU :HOOV

)DUJR HPSOR\HHV QRWHG WKDW WKHUH ZDV D
                         
                               7KLV H[FKDQJH VKRZV WKDW WKH 'HDOHU 'HIHQGDQWV LQ WKLV FDVH 0RUJDQ

6WDQOH\ LQ SDUWLFXODU ZHUH

                                    

               (YLGHQFH GHPRQVWUDWLQJ ZLGHVSUHDG 'HIHQGDQW NQRZOHGJH RI WKH PHWKRGV

WUDGHUV ZRXOG XVH WR PDQLSXODWH ,6'$IL[ $V H[SODLQHG LQ VHYHUDO SODFHV DERYH²WKH WUDGHUV DW

WKH 'HDOHU 'HIHQGDQWV ZHUH DZDUH RI PXOWLSOH PHWKRGV E\ ZKLFK WKH\ FRXOG PDQLSXODWH SULFHV RQ

WKH  6FUHHQ VKRUWO\ DKHDG RI  DP DQG WKXV WKH ,6'$IL[ UHIHUHQFH UDWHV

               2Q $SULO                       5%6 H[SODLQHG WR               5%6




       
                7KLV VWDWHPHQW VKRZV RQH WUDGHU

      



               $W  DP RQ 2FWREHU   IRU H[DPSOH PXOWLSOH 5%6 WUDGHUV

FRPPXQLFDWLQJ LQ D JURXS FKDW                                            ,&$3 WKDW

                                                           2QH RI WKH WUDGHUV UHVSRQGHG E\ VXJJHVWLQJ




          
                $.:)
          
                5%6$ODVND,6'$


                                                    
Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 87 of 108
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 88 of 108




                                             WKDW

                                                $V WKLV GLVFXVVLRQ SURJUHVVHG WKH SDUWLFLSDQWV
                                                 
FRQFOXGHG WKDW

                                                                              

             2Q $SULO                    RI 8%6 DQG                          DOVR RI 8%6

KDG WKH IROORZLQJ H[FKDQJH




             7KH UHIHUHQFH WR           LQGLFDWHV WKDW




                     

             2Q $XJXVW                          RI :HOOV )DUJR PHVVDJHG

DOVR RI :HOOV )DUJR VD\LQJ
                                                                                       



             2Q 2FWREHU                                    RI &LWL H[FKDQJHG PHVVDJHV ZLWK

                                           DOVR RI &LWL  VWDWLQJ WKDW ³
                    
                          ,Q WKHVH PHVVDJHV &LWL DOVR VWDWHG WKDW

                                                            7KH UHIHUHQFH WR WKDW

       
             %$5&,);B HPSKDVLV DGGHG 
       
             $.B8%6B
       
             'HSRVLWLRQ RI               -XQH    7U 
       
             ,G
       
             $.:)
       
             &LWL,6'$),;&LYLO


                                                       
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 89 of 108




                                  VKRZV WKDW




             2Q 6HSWHPEHU                            RI %133 HQJDJHG LQ D FKDW ZLWK

                 DOVR RI %133 



                                               7KLV DJDLQ FRQILUPV WKDW

                                                           &RQILUPLQJ WKDW WKLV WUDGLQJ DFWLYLW\ ZDV

QRW PHUH KHGJLQJ
                                                 
             7R ZKLFK &OHDU\ UHVSRQGHG

             2Q 6HSWHPEHU                      %133 VHQW D PHVVDJH WR

,&$3 VD\LQJ
                                                                                
                                                                                      7KLV

FRPPXQLFDWLRQ UHYHDOV



                                                          DQG PDNHV FOHDU WKDW 'HDOHU 'HIHQGDQWV

                                                                                              

             (YLGHQFH RI DJUHHPHQWV WR NHHS WKH IDFW RI ,6'$IL[ PDQLSXODWLRQ D VHFUHW ,Q

DGGLWLRQ WR WKH JHQHUDO FRPPXQLFDWLRQV IURP 'HDOHU 'HIHQGDQWV WKDW HYLGHQFH WKHLU SDUWLFLSDWLRQ

LQ RU DZDUHQHVV RI WUDGLQJ LQWHQGHG WR DIIHFW WKH  6FUHHQ DQG ,6'$IL[ UHIHUHQFH UDWHV WKHUH




       
              %133B$.B
       
              06$ODVND HPSKDVLV DGGHG 


                                                  
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 90 of 108




are also communications showing that the Defendants want to keep such trading hidden from

government regulators, and other brokers. For example:

       272.     On April 4, 2008,                 (of ICAP) messaged                     (also of

ICAP) stating




                                                          188


         Thus,




       273.     On November 14, 2008, after the Wall St Journal reported that the New York

Attorney General was investigating traders and brokers in the credit default swaps market,

                (BNPP) phoned                        (Barclays) to urge that they had




                                                                               189
                                                                                     This call

demonstrates



       274.     Evidence of Swaps Desks moving ISDAfix at the request of their Options Desks.

In several of the examples above, it is apparent that a trader on the swaps desk for a given Dealer

Defendant has been given instructions by, or undertaken to attempt to, move ISDAfix reference

rates for a trader on the options desk at that same Dealer Defendant.


       188
             ICM-001516979.
       189
             BARC-IFX_00011635.


                                                85
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 91 of 108




                7KLV VFHQDULR ZRXOG RIWHQ DULVH EHFDXVH WKH RSWLRQV GHVN ZRXOG KDYH D VZDSWLRQ

ZKRVH YDOXH ZDV GHWHUPLQHG E\ ,6'$IL[ UDWHV RQ D JLYHQ GD\ )UHTXHQWO\ RSWLRQV GHVNV WKDW

QHHG WR H[HFXWH D VZDS WUDQVDFWLRQ ZRXOG EH UHTXLUHG WR WUDQVDFW ZLWK WKHLU LQWHUQDO VZDS GHVN

)RU H[DPSOH

                2Q $SULO                     D VZDSV GHDOHU DW %133 DVNHG %133¶V RSWLRQ

WUDGHUV LI WKHUH¶V                                                                        IURP WKH

%133 RSWLRQV GHVN UHVSRQGHG WKDW                                            ODWHU DVNV



                                    DOVR %13 RSWLRQV GHVN UHVSRQGHG            DQG FRQILUPHG KH LV



                                                                                             
                                                                                                   7KLV

FRQYHUVDWLRQ UHYHDOV

                                               

                /DWHU WKDW VDPH GD\ %133 WUDGHU           DVNHG ,&$3 EURNHU




              
                    7KLV FRQYHUVDWLRQ GHPRQVWUDWHV WKDW

                                                                    

                6LPLODUO\ RQ 0D\                  ,&$3 WROG                     %133

WKDW *ROGPDQ 6DFKV                                                                         DQG QRWHG

WKH\                                                                                          7KH

%133 WUDGHU UHVSRQGHG


        
              %133B$.B HPSKDVLV DGGHG 
        
              %133B$.B %133B$.B HPSKDVLV DGGHG 


                                                    
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 92 of 108



                                                                  
                                                                        $JDLQ WKLV H[FKDQJH FRQILUPV




                                                                                                      

                  (YLGHQFH WKDW ,&$3 JRW SXQLVKHG LI LW FRXOG QRW JHW ³WKH SULQW´ $V GLVFXVVHG

DERYH WKH  6FUHHQ ZDV XSGDWHG WKURXJK D PDQXDO SURFHVV 7KXV LQ WLPHV RI KLJK DFWLYLW\

LI VRPHRQH ZDLWHG XQWLO WKH ODVW VHFRQGV EHIRUH  DP RU LI WRR PDQ\ WHQRUV ZHUH PRYLQJ DW

RQFH WKHUH ZDV D ULVN WKH ³SHFNHU´ ZRXOG QRW JHW WKH UHVXOWV LQSXWWHG LQ WLPH 7KH 'HDOHU

'HIHQGDQWV ZRXOG UHDFW QHJDWLYHO\ WR WKLV RXWFRPH ZKLFK IXUWKHU VXSSRUW WKH FRQFOXVLRQ WKDW WKH

'HDOHU 'HIHQGDQWV ZHUH WUDGLQJ IRU WKH SXUSRVH RI PRYLQJ ,6'$IL[ UHIHUHQFH UDWHV )RU H[DPSOH

                  2Q $SULO   %DUFOD\V WROG ,&$3 WKDW

          ,Q D ORQJ WHOHSKRQH FRQYHUVDWLRQ                         RI %DUFOD\V H[SODLQHG WR

               RI ,&$3 WKDW




                



                  2Q $SULO                     %133 VHQW D PHVVDJH WR                ,&$3

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               ,&0 HPSKDVLV DGGHG 
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               %$5&,);&B


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Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 93 of 108
     Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 94 of 108




9      7+( ,6'$ 0$67(5 $*5((0(17

           *HQHUDOO\ ,Q WKH HDUO\ ¶V WKH H[SDQVLRQ RI WKH UHODWLYHO\ QHZ VZDSV PDUNHW

ZDV OLPLWHG E\ WKH IDFW WKHUH ZDV D VWDQGDORQH FRQWUDFW IRU HDFK WUDQVDFWLRQ 1HJRWLDWLRQV RI

WKRVH FRQWUDFWV ZHUH WLPHFRQVXPLQJ DQG H[SHQVLYH ,Q RUGHU WR VROYH WKLV SUREOHP WKH

,QWHUQDWLRQDO 6ZDSV DQG 'HULYDWLYHV $VVRFLDWLRQ ³,6'$´ ZDV IRUPHG LQ  E\ D JURXS RI

EDQNV IRU WKH SXUSRVH RI GHYHORSLQJ VWDQGDUGL]HG WHUPV IRU VZDSV

           ,6'$ SXEOLVKHG LWV ILUVW PDVWHU DJUHHPHQW LQ  IROORZHG E\ WKH  ,6'$

0DVWHU $JUHHPHQW WKH ³ $JUHHPHQW´ DQG WKH  ,6'$ 0DVWHU $JUHHPHQW WKH ³

$JUHHPHQW´  $V D PDUNHW SDUWLFLSDQW IDPLOLDU ZLWK LQGXVWU\ VWDQGDUG SUDFWLFHV LW ZDV P\

H[SHULHQFH WKDW GXULQJ WKH &ODVV 3HULRG LQWHUHVW UDWH VZDSV VZDSWLRQV FRQVWDQW PDWXULW\ VZDSV

DQG RWKHU LQWHUHVW UDWH GHULYDWLYHV UHOHYDQW WR WKLV FDVH ZHUH DOO GRFXPHQWHG XQGHU HLWKHU D 

$JUHHPHQW RU D  $JUHHPHQW

           (DFK ,6'$ 0DVWHU $JUHHPHQW LV D VWDQGDUG SULQWHG IRUP $WWDFKHG WR WKH SULQWHG

IRUP LV D VFKHGXOH LQ ZKLFK WZR SDUWLHV PDNH VHOHFWLRQV FDOOHG IRU E\ WKH SULQWHG IRUP LQ RUGHU WR

HVWDEOLVK D FRQWUDFWXDO IUDPHZRUN IRU GHULYDWLYHV WUDQVDFWLRQV WKDW WKH\ HQWHU LQWR RYHU WLPH (DFK

,6'$ 0DVWHU $JUHHPHQW SURYLGHV WKDW WKH SULQWHG IRUP DJUHHPHQW WKH VFKHGXOH DQG DOO

WUDQVDFWLRQV XQGHU WKDW DJUHHPHQW LQFOXGLQJ GRFXPHQWV DQG RWKHU FRQILUPLQJ HYLGHQFH WKDW VHWV

RXW WHUPV RI WUDQVDFWLRQV GHILQHG DV ³&RQILUPDWLRQV´  FRQVWLWXWH SDUW RI VLQJOH XQLILHG DJUHHPHQW

           7KH ILQDQFLDO DQG RWKHU WHUPV RI LQGLYLGXDO WUDQVDFWLRQV DUH JHQHUDOO\ VSHFLILHG E\

UHIHUHQFH WR GHILQHG WHUPV FRQWDLQHG LQ GHILQLWLRQ ERRNV SXEOLVKHG E\ ,6'$ $V D PDUNHW

SDUWLFLSDQW IDPLOLDU ZLWK LQGXVWU\ VWDQGDUG SUDFWLFHV LW ZDV P\ H[SHULHQFH WKDW GXULQJ WKH &ODVV

3HULRG WKH GHILQHG WHUPV XVHG WR HVWDEOLVK WKH ILQDQFLDO DQG RWKHU WHUPV IRU LQWHUHVW UDWH VZDSV

VZDSWLRQV FRQVWDQW PDWXULW\ VZDSV DQG RWKHU LQWHUHVW UDWH GHULYDWLYHV UHOHYDQW WR WKLV FDVH ZHUH

LQFRUSRUDWHG E\ UHIHUHQFH WR HLWKHU WKH  ,6'$ 'HILQLWLRQV RU WKH  ,6'$ 'HILQLWLRQV


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 95 of 108




           7KH &DOFXODWLRQ $JHQW 2QH HOHFWLRQ WR EH PDGH LQ WKH VFKHGXOH WR DQ ,6'$

PDVWHU DJUHHPHQW LV WR GHVLJQDWH D ³&DOFXODWLRQ $JHQW´ $OWKRXJK D WKLUG SDUW\ PD\ EH

GHVLJQDWHG WR EH WKH &DOFXODWLRQ $JHQW DV D VWDQGDUG LQGXVWU\ SUDFWLFH RQH RI WKH SDUWLHV LV XVXDOO\

GHVLJQDWHG WR EH WKH &DOFXODWLRQ $JHQW DQG LQ DQ ,6'$ 0DVWHU $JUHHPHQW EHWZHHQ D GHDOHU DQG

DQ HQG XVHU LW LV WKH GHDOHU WKDW LV XVXDOO\ GHVLJQDWHG WR EH WKH &DOFXODWLRQ $JHQW

           $ &DOFXODWLRQ $JHQW KDV D ZLGH YDULHW\ RI UHVSRQVLELOLWLHV LQ FRQQHFWLRQ ZLWK

LQWHUHVW UDWH DQG FXUUHQF\ GHULYDWLYHV WR GHWHUPLQH WKH H[DFW DPRXQWV WR EH SDLG RYHU WKH OLIH RI

WKRVH WUDQVDFWLRQV 7KH  ,6'$ 'HILQLWLRQV GHVFULEH WKH UHVSRQVLELOLWLHV RI D &DOFXODWLRQ

$JHQW DV IROORZV HPSKDVLV DGGHG 

       6HFWLRQ  &DOFXODWLRQ $JHQW ³&DOFXODWLRQ $JHQW´ PHDQV WKH SDUW\ WR D 6ZDS
       7UDQVDFWLRQ RU D WKLUG SDUW\ GHVLJQDWHG DV VXFK IRU WKH 6ZDS 7UDQVDFWLRQ DQG UHVSRQVLEOH
       IRU D FDOFXODWLQJ WKH DSSOLFDEOH )ORDWLQJ 5DWH LI DQ\ IRU HDFK 3D\PHQW 'DWH RU IRU HDFK
       &DOFXODWLRQ 3HULRG RU &RPSRXQGLQJ 3HULRG E FDOFXODWLQJ DQ\ )ORDWLQJ $PRXQW SD\DEOH
       RQ HDFK 3D\PHQW 'DWH RU IRU HDFK &DOFXODWLRQ 3HULRG F FDOFXODWLQJ DQ\ )L[HG $PRXQW
       SD\DEOH RQ HDFK 3D\PHQW 'DWH RU IRU HDFK &DOFXODWLRQ 3HULRG G FDOFXODWLQJ D &XUUHQF\
       $PRXQW E\ UHIHUHQFH WR D &XUUHQF\ $PRXQW LQ DQRWKHU FXUUHQF\ H JLYLQJ QRWLFH WR WKH
       SDUWLHV WR WKH 6ZDS 7UDQVDFWLRQ RQ WKH &DOFXODWLRQ 'DWH IRU HDFK 3D\PHQW 'DWH RU IRU HDFK
       &DOFXODWLRQ 3HULRG VSHFLI\LQJ L WKH 3D\PHQW 'DWH LL WKH SDUW\ RU SDUWLHV UHTXLUHG WR
       PDNH WKH SD\PHQW RU SD\PHQWV WKHQ GXH LLL WKH DPRXQW RU DPRXQWV RI WKH SD\PHQW RU
       SD\PHQWV WKHQ GXH DQG LY UHDVRQDEOH GHWDLOV DV WR KRZ WKH DPRXQW RU DPRXQWV ZHUH
       GHWHUPLQHG I LI DIWHU QRWLFH LV JLYHQ WKHUH LV D FKDQJH LQ WKH QXPEHU RI GD\V LQ WKH
       UHOHYDQW &DOFXODWLRQ 3HULRG DQG WKH DPRXQW RU DPRXQWV RI WKH SD\PHQW RU SD\PHQWV GXH
       IRU WKDW SD\PHQW 'DWH RU IRU WKDW &DOFXODWLRQ 3HULRG SURPSWO\ JLYLQJ WKH SDUWLHV WR WKH
       6ZDS 7UDQVDFWLRQ QRWLFH RI WKRVH FKDQJHV ZLWK UHDVRQDEOH GHWDLOV DV WR KRZ WKRVH
       FKDQJHV ZHUH GHWHUPLQHG J GHWHUPLQLQJ D 6HWWOHPHQW 5DWH LI IHZHU WKDQ WKUHH TXRWDWLRQV
       DUH SURYLGHG E\ WKH &DVK 6HWWOHPHQW 5HIHUHQFH %DQNV K VHOHFWLQJ OHDGLQJ GHDOHUV WR DFW
       DV &DVK 6HWWOHPHQW 5HIHUHQFH EDQNV LI UHOHYDQW L GHWHUPLQLQJ DQ\ &DVK 6HWWOHPHQW
       $PRXQW LI UHOHYDQW M GHWHUPLQLQJ D &XUUHQF\ ([FKDQJH 5DWH IRU D 0DUNWRPDUNHW
       &XUUHQF\ 6ZDS LI UHOHYDQW DQG N SHUIRUPLQJ DQ\ RWKHU GXWLHV VSHFLILHG LQ D
       &RQILUPDWLRQ DV EHLQJ GXWLHV UHTXLUHG WR EH SHUIRUPHG E\ WKH &DOFXODWLRQ $JHQW
       :KHQHYHU WKH &DOFXODWLRQ $JHQW LV UHTXLUHG WR VHOHFW EDQNV RU GHDOHUV IRU SXUSRVHV RI
       PDNLQJ DQ\ FDOFXODWLRQ RU GHWHUPLQDWLRQ RU WR VHOHFW DQ\ H[FKDQJH UDWH WKH &DOFXODWLRQ
       $JHQW ZLOO PDNH WKH VHOHFWLRQ LQ JRRG IDLWK DIWHU FRQVXOWDWLRQ ZLWK WKH RWKHU SDUW\ IRU WKH
       SDUWLHV LI WKH &DOFXODWLRQ $JHQW LV D WKLUG SDUW\  LI SUDFWLFDEOH IRU SXUSRVHV RI REWDLQLQJ D
       UHSUHVHQWDWLYH UDWH WKDW ZLOO UHDVRQDEO\ UHIOHFW FRQGLWLRQV SUHYDLOLQJ DW WKH WLPH LQ WKH
       UHOHYDQW PDUNHW RU GHVLJQDWLQJ D IUHHO\ FRQYHUWLEOH FXUUHQF\ DV WKH FDVH PD\ EH
       :KHQHYHU WKH FDOFXODWLRQ $JHQW LV UHTXLUHG WR DFW PDNH D GHWHUPLQDWLRQ RU WR H[HUFLVH



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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 96 of 108




        MXGJPHQW LQ DQ\ RWKHU ZD\ LW ZLOO GR VR LQ JRRG IDLWK DQG LQ D FRPPHUFLDOO\ UHDVRQDEOH
        PDQQHU

            $ ³&DVK 6HWWOHPHQW $PRXQW´ XQGHU WKH  ,6'$ 'HILQLWLRQV IRU ³D 6ZDSWLRQ WR

ZKLFK &DVK 6HWWOHPHQW LV DSSOLFDEOH´ LV WKH DPRXQW 6HOOHU SD\V WR %X\HU ³LI %X\HU LV WKH SDUW\

ZKLFK LV LQWKHPRQH\   ´

            7KH  ,6'$ 'HILQLWLRQV FRQWDLQ D VLPLODU GHILQLWLRQ RI ³&DOFXODWLRQ $JHQW´

LQFOXGLQJ WKDW WKH &DOFXODWLRQ $JHQW LV UHVSRQVLEOH IRU ³GHWHUPLQLQJ DQ\ &DVK 6HWWOHPHQW $PRXQW

LI UHOHYDQW   ´ 7KDW GHILQLWLRQ DOVR KDV WKH IROORZLQJ VWDQGDUG IRU DOO DFWLRQV RI WKH

&DOFXODWLRQ $JHQW ³>Z@KHQYHU WKH &DOFXODWLRQ $JHQW LV UHTXLUHG WR DFW RU WR H[HUFLVH MXGJPHQW LQ

DQ\ RWKHU ZD\ LW ZLOO GR VR LQ JRRG IDLWK DQG LQ D FRPPHUFLDOO\ UHDVRQDEOH PDQQHU´

            ,6'$IL[ 5DWHV ,6'$ DQQRXQFHG RQ 0DUFK   WKDW LW ZDV LQDXJXUDWLQJ D

SDU UDWH VFUHHQ WR SURYLGH PLGPDUNHW VZDS UDWHV WR GHDOHUV DQG HQG XVHUV ,6'$ GHVFULEHG WKLV

VHUYLFH ³DV DQRWKHU VWHS E\ WKH VZDSV LQGXVWU\ WR LQFUHDVH WUDQVSDUHQF\ DQG SULFH FHUWDLQW\ IRU

GHDOHUV DQG HQGXVHUV LQ WKH JURZLQJ PDUNHW IRU SULYDWHO\ QHJRWLDWHG GHULYDWLYHV   ´ ,6'$

H[SODLQHG WKDW ³WKH QHZ EHQFKPDUN VHUYLFH ZLOO SURYLGH D SDU VZDS FXUYH IURP LQGHSHQGHQWO\

FDOFXODWHG UHIHUHQFH YDOXHV IRU FDVKVHWWOHG VZDS RSWLRQV TXRWHG E\ DFNQRZOHGJHG PDUNHW PDNHUV

DV RI  DP ORFDO WLPH   ´ ,6'$ DOVR QRWHG LQ WKH 0DUFK   SUHVV UHOHDVH WKDW WKH

³SULPDU\ SXUSRVH´ RI WKH QHZ VHUYLFH ³LV WR HVWDEOLVK DXWKRULWDWLYH YDOXHV DJDLQVW ZKLFK H[HUFLVHG

VZDS RSWLRQV FDQ EH VHWWOHG DV ZHOO DV WR VHUYH RWKHU YDOXDWLRQ QHHGV IRU H[DPSOH WKH FDVK VHWWOLQJ

RI LQWHUHVW UDWH VZDSV´


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              ,6'$ 'HILQLWLRQV 6HFWLRQ 
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              ,6'$ 'HILQLWLRQV 6HFWLRQ 
        
             ,6'$ 3UHVV 5HOHDVH ,6'$ 7R ,QWURGXFH 6FUHHQ 6HUYLFH IRU 6ZDS 5DWHV DQG 6SUHDGV :LWK
5HXWHUV ,QWHUFDSLWDO %URNHUV DQG /HDGLQJ 6ZDS 'HDOHUV 0DU   DYDLODEOH DW KWWSZZZLVGDRUJ
SUHVVDBKWPO
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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 97 of 108




            7KH  ,6'$ 'HILQLWLRQV DGRSWHG ZKDW EHFDPH NQRZQ DV WKH ,6'$IL[

EHQFKPDUN UDWHV IRU XVH LQ VHWWOLQJ VZDSWLRQV 7KH  ,6'$ 'HILQLWLRQV HVWDEOLVKHG WKDW WKH

6HWWOHPHQW 5DWH IRU D FDVKVHWWOHG VZDSWLRQ LV GHWHUPLQHG E\ UHIHUHQFH WR WKH UHOHYDQW ,6'$IL[

3DJH ZKHQ ³µ,6'$ 6RXUFH¶ LV VSHFLILHG LQ WKH UHODWHG &RQILUPDWLRQ   ´ ,Q WKDW FDVH WKH

6HWWOHPHQW 5DWH LV ³WKH SDU VZDS UDWH IRU VZDSV LQ WKH FXUUHQF\ LQ ZKLFK WKH 5HOHYDQW 6ZDS

7UDQVDFWLRQ LV GHQRPLQDWHG IRU D SHULRG HTXLYDOHQW WR WKH UHPDLQLQJ 7HUP RI WKH 5HOHYDQW 6ZDS

7UDQVDFWLRQ ZKLFK DSSHDUV RQ WKH UHOHYDQW ,6'$IL[ 3DJH DV RI WKH &DVK 6HWWOHPHQW 9DOXDWLRQ

7LPH RQ WKH &DVK 6HWWOHPHQW 9DOXDWLRQ 'DWH´ )LQDOO\ WKH  ,6'$ 'HILQLWLRQV VWDWHG WKDW

³,6'$),; 3DJH´ ³PHDQV LQ UHVSHFW RI D 6ZDS 7UDQVDFWLRQ DQG LQ UHVSHFW RI D &DVK 6HWWOHPHQW

9DOXDWLRQ 'DWH RU DQ ([HUFLVH 'DWH ZKLFKHYHU RI WKH 5HXWHUV 6FUHHQ ,6'$),; SDJHV LV

GHVLJQDWHG IRU SXUSRVHV RI GLVSOD\LQJ SDU VZDS UDWHV IRU VZDSV LQ WKH FXUUHQF\ RI GHQRPLQDWLRQ RI

WKH 5HOHYDQW 6ZDS 7UDQVDFWLRQ RQ WKDW &DVK 6HWWOHPHQW 9DOXDWLRQ 'DWH RU WKDW ([HUFLVH 'DWH´

            6LPLODUO\ WKH  ,6'$ 'HILQLWLRQV FRQWDLQHG DV GHILQHG WHUPV ³,6'$ 6RXUFH´

DQG ³,6'$IL[ 3DJH´ ZKLFK IDFLOLWDWHG WKH XVH RI ,6'$IL[ UDWHV WR GHWHUPLQH WKH &DVK 6HWWOHPHQW

$PRXQW IRU FDVKVHWWOHG VZDSWLRQV

            %DVHG RQ P\ H[SHULHQFH DV D PDUNHW SDUWLFLSDQW GXULQJ WKH &ODVV 3HULRG LW ZDV WKH

VWDQGDUG SUDFWLFH LQ WKH LQGXVWU\ WR VHWWOH FDVKVHWWOHG VZDSWLRQV XVLQJ ,6'$IL[ UDWHV WR FDOFXODWH

WKH &DVK 6HWWOHPHQW $PRXQW

            &RQVWDQW PDWXULW\ VZDSV DUH VLPLODU WR YDQLOOD LQWHUHVW UDWH VZDSV EXW WKH LQWHUHVW

UDWH IRU RQH OHJ LV UHVHW SHULRGLFDOO\ ZLWK UHIHUHQFH WR D EHQFKPDUN LQGH[ 'XULQJ WKH &ODVV 3HULRG

LW ZDV VWDQGDUG LQGXVWU\ SUDFWLFH WR UHVHW WKDW OHJ RI WKH FRQVWDQW PDWXULW\ VZDSV ZLWK UHIHUHQFH WR


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              ,6'$ 'HILQLWLRQV 6HFWLRQ  I 
       
             ,G
       
             ,6'$  'HILQLWLRQV 6HFWLRQ  Q 
       
              ,6'$ 'HILQLWLRQV $UW  I L GHILQLWLRQ RI ³6HWWOHPHQW 5DWH´ 


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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 98 of 108




DQ ,6'$IL[ UDWH 6WHHSHQHUV DQG IODWWHQHUV DUH LQWHUHVW UDWH GHULYDWLYHV WKH SD\RII IRU ZKLFK LV

OLQNHG WR WKH VKDSH RI WKH \LHOG FXUYH ,Q D VWHHSHQHU WKH VWHHSHU WKH \LHOG FXUYH LH WKH KLJKHU

WKDW ORQJWHUP UDWHV DUH FRPSDUHG WR VKRUWWHUP UDWHV DW WKH SRLQW LQ WLPH ZKHQ DQ DPRXQW GXH LV

FDOFXODWHG WKH JUHDWHU WKH SD\RII WR WKH SXUFKDVHU RI WKH WUDGH &RQYHUVHO\ LQ D IODWWHQHU WKH

IODWWHU WKH \LHOG FXUYH DW WKDW SRLQW LQ WLPH WKH JUHDWHU WKH SD\RII WR WKH SXUFKDVHU RI WKH WUDGH

'XULQJ WKH &ODVV 3HULRG LW ZDV VWDQGDUG LQGXVWU\ SUDFWLFH IRU VWHHSHQHUV DQG IODWWHQHUV WR XVH

,6'$IL[ UDWHV RI WZR GLIIHUHQW PDWXULWLHV HJ WKH GLIIHUHQFH EHWZHHQ WKH \HDU UDWH DQG WKH 

\HDU UDWH WR GHWHUPLQH DPRXQWV GXH SHULRGLFDOO\ WR WKH SXUFKDVHU RI WKH WUDGH



            7KH DERYH UHSUHVHQWV P\ RSLQLRQV DV RI WKH GDWH RI WKLV UHSRUW , UHVHUYH WKH ULJKW

WR VXSSOHPHQW RU DPHQG P\ RSLQLRQV LQFOXGLQJ LQ UHVSRQVH WR DQ\ RSLQLRQV WKDW PLJKW EH

H[SUHVVHG E\ H[SHUWV UHWDLQHG E\ 'HIHQGDQWV RU DV , UHFHLYH QHZ LQIRUPDWLRQ LQ UHVSHFW RI WKLV

FDVH

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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 99 of 108




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                                  Robert Farrell
                                       5LYHUV (GJH 'U
                                     &ROWV 1HFN 1- 

7RPRUR //&
3DUWQHU                                                                         3UHVHQW
  ,QYHVWPHQW PDQDJHU ± IDPLO\ RIILFH

%ODQWRQ 5HVHDUFK
&R)RXQGHU                                                                       ± 3UHVHQW
  3URYLGH FRQVXOWLQJ DQG DGYLVRU\ VHUYLFHV VSHFLDOL]LQJ LQ VHFXULWLHV WUDGLQJ
     YDOXDWLRQ DQG PDUNHW SUDFWLFH

73 $PHULFDV //& 1HZ <RUN 1<                                                   ± 
*URXS +HDG  0DQDJLQJ 'LUHFWRU
  6XFFHVVIXOO\ FRPSOHWHG D WHUP FRQWUDFW WR FUHDWH DQ H[FKDQJH WUDGHG GHULYDWLYH
    GHVN
  (VWDEOLVKHG UHODWLRQVKLS ZLWK FOHDULQJ )&0V DQG ORFDO PDUNHW PDNHUV
  +LUHG DQG PDQDJHG D WHDP RI H[HFXWLRQ SURIHVVLRQDOV DQG VWUDWHJLVWV
  'HYHORSHG IL[HG LQFRPH HTXLW\ DQG YRODWLOLW\ WUDGLQJ DQG KHGJLQJ VWUDWHJLHV IRU D
    FOLHQW EDVH FRQVLVWLQJ RI EDQNV LQVXUDQFH FRPSDQLHV DQG KHGJH IXQGV

&57 &DSLWDO //& 6WDPIRUG &7                                                       ± 
7UHDVXUHU0DQDJLQJ 'LUHFWRU
  &KDLU RI WKH $VVHW /LDELOLW\ &RPPLWWHH
  2YHUVDZ FDSLWDO DOORFDWLRQ ILUP ILQDQFLQJ OLTXLGLW\ DQG FDVK PDQDJHPHQW RI WKH
     ILUP¶V PP RI HTXLW\ FDSLWDO DQG  ELOOLRQ 86' EDODQFH VKHHW FRPSULVHG RI
     86 7UHDVXULHV DQG $JHQFLHV 0%6 (0  &RUS 'HEW (TXLWLHV DQG 3ULYDWH
     3ODFHPHQWV
  'HYHORSHG GHWDLOHG VWUHVV WHVWV WKDW YDOLGDWHG DVVHW OLTXLGLW\ RQ D PRQWKO\ EDVLV
  5HVLJQHG SURSRVHG PHUJHU ZLWK $PKHUVW 3LHUSRLQW

)LUVW 1HZ <RUN //& 1HZ <RUN &LW\ 1<                                              ± 
6HQLRU 3RUWIROLR 0DQDJHU+HDG RI 86 1RQ &UHGLW 7UDGLQJ
   *OREDO 0DFUR SRUWIROLR PDQDJHU WUDQVDFWLQJ LQ OLTXLG * PDUNHWV
   &RRUGLQDWHG SULPH EURNHU UHODWLRQVKLSV
   :RUNHG ZLWK SDUWQHUV WR REWDLQ EDQN IDFLOLWLHV ERWK FROODWHUDOL]HG DQG XQVHFXUHG


0RUJDQ 6WDQOH\ 5HG %DQN 1-                                                       ± 
3RUWIROLR 0DQDJHU
  3RUWIROLR PDQDJHU DFWLYHO\ PDQDJLQJ PP RI GLYHUVLILHG IL[HG LQFRPH
     SRUWIROLRV LQ PDQDJHG DFFRXQWV IRU IDPLO\ RIILFHV IRXQGDWLRQV DQG SXEOLF HQWLWLHV



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 Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 100 of 108




&RXQWU\ZLGH &DSLWDO 0DUNHWV &DODEDVDV &$                                       ± 
([HFXWLYH 9LFH 3UHVLGHQW
  7UDGLQJ DQG 3URGXFW PDQDJHU IRU UDWHV GHVN LQFOXGLQJ PDUNHW PDNLQJ
    XQGHUZULWLQJ SURSULHWDU\ WUDGLQJ DQG ILQDQFLQJ
  6HQLRU PHPEHU RI WKH FDSLWDO PDUNHWV PDQDJHPHQW FRPPLWWHH UHVSRQVLEOH IRU
    OLTXLGLW\ VWUHVV WHVWLQJ DQG FRRUGLQDWLQJ FUHGLW IDFLOLWLHV
  3URGXFWV WUDGHG LQFOXGH 86 GROODU LQWHUHVW UDWH GHULYDWLYHV DQG RSWLRQV 86
    *RYHUQPHQW DQG DJHQF\ VHFXULWLHV DQG JOREDO VWUXFWXUHG SURGXFWV

$)* $GYLVRUV 5HG %DQN 1- DQG *UHHQZLFK &7                                  ± 
0DQDJLQJ 3DUWQHU DQG &,2
  &R)RXQGHU DQG &KLHI ,QYHVWPHQW 2IILFHU RI $)*¶V 5HODWLYH 9DOXH 2SSRUWXQLW\ )XQG D
    ERXWLTXH PP JOREDO PDFUR KHGJH IXQG IRFXVLQJ RQ IL[HG LQFRPH DQG YRODWLOLW\ VWUDWHJLHV
  5HVSRQVLEOH IRU SRUWIROLR PDQDJHPHQW DQG FDSLWDO DOORFDWLRQ

6RURV )XQG 0DQDJHPHQW 1HZ <RUN &LW\ 1HZ <RUN                                     ± 
7UHDVXUHU DQG 6HQLRU 3RUWIROLR 0DQDJHU
  7UHDVXUHU RI 6RURV )XQG 0DQDJHPHQW FRRUGLQDWLQJ SULPH EURNHUDJH UHODWLRQVKLSV VHFXUHG
     ILQDQFLQJ DJUHHPHQWV DQG FDVK PDQDJHPHQW
  3URPRWHG WR SRUWIROLR PDQDJHU VWDUWLQJ ZLWK D PP RI ULVN FDSLWDO
  $OORFDWHG DGGLWLRQDO FDSLWDO DQG UHVSRQVLELOLW\ IRU  VXFFHVVLYH \HDUV EDVHG RQ SHUIRUPDQFH
     XOWLPDWHO\ PDQDJLQJ PP RI ULVN FDSLWDO DQG FRPDQDJHG DQ DGGLWLRQDO PP
  *URVV UHWXUQV RI  DQQXDOL]HG RYHU  \HDUV
  6WUDWHJ\ IRFXVHG RQ IL[HG LQFRPH UHODWLYH YDOXH DQG PDFUR SRVLWLRQLQJ 3URGXFWV WUDGHG
     LQFOXGHG 86 (XURSHDQ DQG -DSDQHVH LQWHUHVW UDWH ); DQG FRPPRGLW\ LQGLFHV

%DQNHUV 7UXVW &RPSDQ\ 1HZ <RUN &LW\ 1HZ <RUN                                   ± 
0DQDJLQJ 'LUHFWRU 'HSXW\ +HDG RI *OREDO )XQGLQJ
  0DQDJHU RI D WHDP RI  SURIHVVLRQDOV DFURVV 86 (XURSH DQG $VLD
  5HVSRQVLEOH IRU IXQGLQJ WKH ILUP¶V  ELOOLRQ EDODQFH VKHHW
  :RUNHG H[WHQVLYHO\ ZLWK UDWLQJ DJHQFLHV DQG UHJXODWRUV GHYHORSLQJ GHWDLOHG OLTXLGLW\ VWUHVV
    WHVW PRGHOV
  5HVSRQVLEOH IRU PDQDJLQJ WKH ILUP¶V  ELOOLRQ LQYHVWPHQW DFFRXQW DQG LVVXDQFH RI DOO ORQJ
    WHUP DQG VKRUW WHUP GHEW LQFOXGLQJ &'¶V 071¶V VXERUGLQDWHG GHEW DQG FDSLWDO VHFXULWLHV

                                  ('8&$7,21 $1' 3(5621$/

%6 )LQDQFH  )DLUILHOG 8QLYHUVLW\ )DLUILHOG &7

*HQHUDO 6HFXULWLHV 3ULQFLSDO 6HULHV 
5HJLVWHUHG 5HSUHVHQWDWLYH 6HULHV  6HULHV   )XWXUHV 6HULHV 




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 Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 101 of 108




                       $33(1',; % ± 0DWHULDOV 5HOLHG 8SRQ
$OO GRFXPHQWV DXGLR ILOHV DXGLR WUDQVFULSWV GHSRVLWLRQ WUDQVFULSWV WUDGH GDWD &)7& 2UGHUV
LQWHUQHW ZHESDJHV QHZV DUWLFOHV RU RWKHU PDWHULDOV DV FLWHG RU H[SUHVVO\ UHIHUHQFHG LQ WKLV 5HSRUW

([SHUW 5HSRUW RI 0LFKDHO $ :LOOLDPV 3K' -XO\   




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 102 of 108




               $33(1',; & */266$5< 2) &20021 7(506

$PHULFDQ 6W\OH 2SWLRQ $Q RSWLRQ WKDW FDQ EH H[HUFLVHG DW DQ\ WLPH IURP LQFHSWLRQ DV RSSRVHG WR D
(XURSHDQ 6W\OH RSWLRQ ZKLFK FDQ RQO\ EH H[HUFLVHG DW H[SLU\

$FFUHWLQJ 6ZDS $Q H[FKDQJH RI LQWHUHVW UDWH SD\PHQWV DW UHJXODU LQWHUYDOV EDVHG XSRQ SUHVHW LQGLFHV
DQG QRWLRQDO DPRXQWV LQ ZKLFK WKH QRWLRQDO DPRXQWV GHFUHDVH RYHU WLPH

$UELWUDJH 7KH DFW RI WDNLQJ DGYDQWDJH RI GLIIHUHQFHV LQ SULFH EHWZHHQ PDUNHWV 7KH WHUP DOVR PD\ UHIHU
WR VSHFXODWRUV ZKR WDNH SRVLWLRQV RQ WKH FRUUHODWLRQ EHWZHHQ WZR FRPSDUDEOH DVVHW W\SHV

$WWKH0DUNHW $ W\SH RI ILQDQFLDO WUDQVDFWLRQ LQ ZKLFK WKH RUGHU WR EX\ RU VHOO LV H[HFXWHG DW WKH FXUUHQW
SUHYDLOLQJ PDUNHW SULFH

$WWKH0RQH\ $Q RSWLRQ ZKRVH VWULNH SULFH LV HTXDO WR WKH FXUUHQW SULFH LQ WKH XQGHUO\LQJ PDUNHW

$YHUDJH 5DWH 2SWLRQV $Q RSWLRQ ZKRVH SD\RXW DW H[SLU\ LV GHWHUPLQHG E\ WKH GLIIHUHQFH EHWZHHQ LWV
VWULNH DQG D FDOFXODWHG DYHUDJH PDUNHW UDWH ZKHUH WKH SHULRG IUHTXHQF\ DQG VRXUFH RI REVHUYDWLRQ IRU WKH
FDOFXODWLRQ RI WKH DYHUDJH PDUNHW UDWH DUH VSHFLILHG DW WKH LQFHSWLRQ RI WKH FRQWUDFW

%DUULHU 2SWLRQV $Q RSWLRQ FRQWUDFW IRU ZKLFK WKH PDWXULW\ VWULNH SULFH DQG XQGHUO\LQJ DUH VSHFLILHG DW
LQFHSWLRQ LQ DGGLWLRQ WR D WULJJHU SULFH 7KH WULJJHU SULFH GHWHUPLQHV ZKHWKHU RU QRW WKH RSWLRQ DFWXDOO\
H[LVWV ,Q WKH FDVH RI D NQRFNLQ RSWLRQ WKH EDUULHU RSWLRQ GRHV QRW H[LVW XQWLO WKH WULJJHU LV WRXFKHG )RU D
NQRFNRXW RSWLRQ WKH RSWLRQ H[LVWV XQWLO WKH WULJJHU LV WRXFKHG

%DVLV 7KH GLIIHUHQFH LQ SULFH RU \LHOG EHWZHHQ FRPSDUDEOH DVVHW W\SHV WUDGHG LQ GLIIHUHQW PDUNHW )RU
H[DPSOH D  \HDU 86 *RYHUQPHQW VHFXULW\ \LHOG YHUVXV WKH \LHOG RQ D  \HDU QRWH FRQWUDFW RQ D IXWXUHV
H[FKDQJH

%HUPXGDQ 6W\OH 2SWLRQ 7KH %HUPXGDQ LV D FURVV EHWZHHQ (XURSHDQ DQG $PHULFDQ VW\OH RSWLRQV :KLOH
D (XURSHDQ VW\OH RSWLRQ FDQ EH H[HUFLVHG DW 21( GLVFUHWH SHULRG DQG DQ $PHULFDQ VW\OH RSWLRQ FDQ EH
H[HUFLVHG FRQWLQXRXVO\ DQ\ GD\  WKH %HUPXGDQ FDQ EH H[HUFLVHG DW PXOWLSOH GLVFUHWH SHULRGV VXFK DV
TXDUWHUO\ RU VHPLDQQXDOO\ RYHU WKH WHUP RI WKH RSWLRQ

%ODFN6FKROHV $ FORVHGIRUP VROXWLRQ LH DQ HTXDWLRQ IRU YDOXLQJ SODLQ YDQLOOD RSWLRQV GHYHORSHG E\
)LVFKHU %ODFN DQG 0\URQ 6FKROHV LQ  IRU ZKLFK WKH\ VKDUHG WKH 1REHO 3UL]H LQ (FRQRPLFV

&DOO 2SWLRQ $ FDOO RSWLRQ LV D ILQDQFLDO FRQWUDFW JLYLQJ WKH RZQHU WKH ULJKW EXW QRW WKH REOLJDWLRQ WR EX\ D
SUHVHW DPRXQW RI WKH XQGHUO\LQJ ILQDQFLDO LQVWUXPHQW DW D SUHVHW SULFH ZLWK D SUHVHW PDWXULW\ GDWH

&DS $ FDS LV D ILQDQFLDO WHUP WKDW OLPLWV RU FDSV D VSHFLILHG IORDWLQJ UDWH )RU H[DPSOH LI \RX RZQ D
ERQG WKDW SD\V DQ LQWHUHVW UDWH WKDW UHVHWV DW  PRQWK /LERU ZLWK D FDS RQH¶V SD\PHQW ZLOO QHYHU EH KLJKHU
WKDQ WKH SUHGHWHUPLQHG FDS UHJDUGOHVV RI ZKHUH LQGH[ VHWV

&DVK 6HWWOHPHQW 6RPH GHULYDWLYHV FRQWUDFWV DUH VHWWOHG DW PDWXULW\ RU EHIRUH PDWXULW\ DW FORVHRXW E\ DQ
H[FKDQJH RI FDVK IURP WKH SDUW\ ZKR LV RXWRIWKHPRQH\ WR WKH SDUW\ ZKR LV LQWKHPRQH\




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 103 of 108



&06 6ZDS &06 VWDQGV IRU &RQVWDQW 0DWXULW\ 6ZDS ,Q D QRUPDO ,QWHUHVW 5DWH 6ZDS WUDQVDFWLRQ WKH
)L[HG 5DWH DW WKH WLPH RI WKH WUDQVDFWLRQ UHSUHVHQWV IRU H[DPSOH WKH \HDU VZDS UDWH RQ WKH GD\ RI WKH
WUDQVDFWLRQ +RZHYHU DV WKH WUDQVDFWLRQ JRHV WKURXJK WLPH DQG PRYHV FORVHU WR H[SLU\ WKH )L[HG 5DWH
OHJ¶V GXUDWLRQ GHFOLQHV DIWHU RQH \HDU WKH WUDQVDFWLRQ QRZ UHSUHVHQWV D \HDU )L[HG)ORDWLQJ 5DWH 6ZDS 
$ &RQVWDQW 0DWXULW\ 6ZDS NHHSV WKH \HDU VZDS UDWH FRQVWDQW DW  \HDUV

&ROODU $ FRPELQDWLRQ RI RSWLRQV LQ ZKLFK WKH KROGHU RI WKH FRQWUDFW KDV ERXJKW RQH RXWRIWKH PRQH\
RSWLRQ FDOO RU SXW DQG VROG RQH RU PRUH RXWRIWKHPRQH\ SXWV RU FDOOV  'RLQJ WKLV ORFNV LQ WKH
PLQLPXP DQG PD[LPXP UDWHV WKDW WKH FROODU RZQHU ZLOO XVH WR WUDQVDFW LQ WKH XQGHUO\LQJ DW H[SLU\

&RPPRGLW\ 6ZDS $ FRQWUDFW LQ ZKLFK FRXQWHUSDUWLHV DJUHH WR H[FKDQJH SD\PHQWV UHODWHG WR LQGLFHV DW
OHDVW RQH RI ZKLFK DQG SRVVLEO\ ERWK LV D FRPPRGLW\ LQGH[

&RQYH[LW\ $ ILQDQFLDO LQVWUXPHQW LV VDLG WR EH FRQYH[ LI WKH ILQDQFLDO LQVWUXPHQW¶V SULFH LQFUHDVHV RU
GHFUHDVH IDVWHU WKDQ FRUUHVSRQGLQJ FKDQJHV LQ WKH XQGHUO\LQJ SULFH 6HFXULWLHV WKDW FDQ SUHSD\ OLNH
0RUWJDJH %DFNHG 6HFXULWLHV DUH FRQVLGHUHG QHJDWLYHO\ FRQYH[

&RUUHODWLRQ &RUUHODWLRQ LV D VWDWLVWLFDO PHDVXUH GHVFULELQJ WKH H[WHQW WR ZKLFK SULFHV RQ GLIIHUHQW
LQVWUXPHQWV PRYH WRJHWKHU RYHU WLPH &RUUHODWLRQ FDQ EH SRVLWLYH RU QHJDWLYH ,QVWUXPHQWV WKDW PRYH
WRJHWKHU LQ WKH VDPH GLUHFWLRQ WR WKH VDPH H[WHQW KDYH KLJKO\ SRVLWLYH FRUUHODWLRQV ,QVWUXPHQWV WKDW PRYH
WRJHWKHU LQ RSSRVLWH GLUHFWLRQ WR WKH VDPH H[WHQW KDYH KLJKO\ QHJDWLYH FRUUHODWLRQV

&UHGLW 5LVN &UHGLW ULVN LV WKH ULVN RI ORVV IURP D FRXQWHUSDUW\ LQ GHIDXOW RU IURP D FKDQJH LQ WKH FUHGLW
VWDWXV RI D FRXQWHUSDUW\ WKDW FDXVHV WKH YDOXH RI WKHLU REOLJDWLRQV WR GHFUHDVH

&XUUHQF\ 6ZDS $Q H[FKDQJH RI LQWHUHVW UDWH SD\PHQWV LQ GLIIHUHQW FXUUHQFLHV RQ D SUHVHW QRWLRQDO
DPRXQW DQG DERXW SUHGHWHUPLQHG LQWHUHVW UDWH LQGLFHV LQ ZKLFK WKH QRWLRQDO DPRXQWV DUH H[FKDQJHG DW
LQFHSWLRQ RI WKH FRQWUDFW DQG WKHQ UHH[FKDQJHG DW WKH WHUPLQDWLRQ RI WKH FRQWUDFW DW SUHVHW H[FKDQJH UDWHV

'HOWD 7KH VHQVLWLYLW\ RI WKH FKDQJH LQ D ILQDQFLDO LQVWUXPHQW¶V YDOXH WR FKDQJHV LQ WKH SULFH RI WKH
XQGHUO\LQJ FDVK LQGH[ )RU DQ LQWHUHVW UDWH VZDS WKH NH\ PHDVXUHPHQW RI ULVN LV GHOWD ULVN RI ³'9´
ZKLFK PHDVXUHV WKH LPSDFW RQ LQWHUHVW UDWH VZDSV RI D  EDVLV SRLQW FKDQJH LQ LQWHUHVW UDWHV

'RFXPHQWDWLRQ 5LVN 7KH ULVN RI ORVV GXH WR DQ LQDGHTXDF\ RU RWKHU XQIRUHVHHQ DVSHFW RI WKH OHJDO
GRFXPHQWDWLRQ EHKLQG WKH ILQDQFLDO FRQWUDFW

'XUDWLRQ $ ZHLJKWHG DYHUDJH RI WKH FDVK IORZV IRU D IL[HG LQFRPH LQVWUXPHQW H[SUHVVHG LQ WHUPV RI WLPH

(PEHGGHG 'HULYDWLYHV 'HULYDWLYH FRQWUDFWV WKDW H[LVW DV SDUW RI VHFXULWLHV

(TXLW\ 6ZDS $ FRQWUDFW LQ ZKLFK FRXQWHUSDUWLHV DJUHH WR H[FKDQJH SD\PHQWV UHODWHG WR LQGLFHV DW OHDVW
RQH RI ZKLFK DQG SRVVLEO\ ERWK RI ZKLFK LV DQ HTXLW\ LQGH[

(XURSHDQ 6W\OH 2SWLRQ $Q RSWLRQ WKDW FDQ EH H[HUFLVHG RQO\ DW H[SLU\ DV RSSRVHG WR DQ $PHULFDQ 6W\OH
RSWLRQ WKDW FDQ EH H[HUFLVHG DW DQ\ WLPH IURP LQFHSWLRQ RI WKH FRQWUDFW

([FKDQJH 7UDGHG &RQWUDFWV )LQDQFLDO LQVWUXPHQWV OLVWHG RQ H[FKDQJHV VXFK DV WKH &KLFDJR %RDUG RI
7UDGH RU &0(



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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 104 of 108



([HUFLVH 3ULFH 7KH H[HUFLVH SULFH LV WKH SULFH DW ZKLFK D FDOO¶V SXW¶V EX\HU FDQ EX\ RU VHOO WKH
XQGHUO\LQJ LQVWUXPHQW

([RWLF 'HULYDWLYHV $Q\ GHULYDWLYH FRQWUDFW WKDW LV QRW D SODLQ YDQLOOD FRQWUDFW ([DPSOHV LQFOXGH EDUULHU
RSWLRQV DYHUDJH UDWH DQG DYHUDJH VWULNH RSWLRQV ORRNEDFN RSWLRQV FKRRVHU RSWLRQV HWF

)ORRU $ IORRU LV D ILQDQFLDO WHUP WKDW JXDUDQWHHV RU IORRUV D VSHFLILHG IORDWLQJ UDWH )RU H[DPSOH LI \RX
RZQ D ERQG WKDW SD\V DQ LQWHUHVW UDWH WKDW UHVHWV DW  PRQWK /LERU ZLWK D IORRU RQH¶V SD\PHQW ZLOO QHYHU EH
ORZHU WKDQ WKH SUHGHWHUPLQHG IORRU UHJDUGOHVV RI ZKHUH LQGH[ VHWV

)RUZDUG &RQWUDFWV $Q RYHUWKHFRXQWHU REOLJDWLRQ WR EX\ RU VHOO D ILQDQFLDO LQVWUXPHQW RU WR PDNH D
SD\PHQW DW VRPH SRLQW LQ WKH IXWXUH WKH GHWDLOV RI ZKLFK ZHUH DJUHHG EHWZHHQ WKH WZR FRXQWHUSDUWLHV

)RUZDUG RU 'HOD\HG 6WDUW 6ZDS $Q\ VZDS ZLWK D VWDUW WKDW LV ODWHU WKDQ WKH VWDQGDUG WHUPV 7KLV PHDQV
WKDW FDOFXODWLRQ RI WKH FDVK IORZV GRHV QRW EHJLQ LPPHGLDWHO\ EXW DW VRPH SUHGHWHUPLQHG VWDUW GDWH

)RUZDUG 5DWH $JUHHPHQWV )5$V  $ IRUZDUG UDWH DJUHHPHQW LV D FDVKVHWWOHG REOLJDWLRQ RQ LQWHUHVW
UDWHV IRU D SUHVHW SHULRG RQ D SUHVHW LQWHUHVW UDWH LQGH[ ZLWK D IRUZDUG VWDUW GDWH $ î )5$ RQ 86
GROODU /,%25 WKH /RQGRQ ,QWHUEDQN 2IIHUHG 5DWH LV D FRQWUDFW EHWZHHQ WZR SDUWLHV REOLJLQJ RQH WR SD\
WKH RWKHU WKH GLIIHUHQFH EHWZHHQ WKH )5$ UDWH DQG WKH DFWXDO /,%25 UDWH REVHUYHG IRU WKDW SHULRG ,Q WKLV
H[DPSOH WKH FRXQWHUSDUWLHV DUH FRQWUDFWXDOO\ DJUHHLQJ WR D  PRQWK /LERU UDWH  PRQWKV IRUZDUG

)XWXUHV &RQWUDFWV $Q H[FKDQJHWUDGHG REOLJDWLRQ WR EX\ RU VHOO D ILQDQFLDO LQVWUXPHQW RU WR PDNH D
SD\PHQW DW RQH RI WKH H[FKDQJH¶V IL[HG GHOLYHU\ GDWHV 6HWWOHPHQW WDNHV SODFH WKURXJK WKH H[FKDQJH¶V
FOHDULQJKRXVH

*DPPD *DPPD LV WKH PHDVXUH RI UDWH RI FKDQJH RI DQ RSWLRQ¶V GHOWD

+HGJH $ WUDQVDFWLRQ WKDW RIIVHWV DQ H[SRVXUH WR IOXFWXDWLRQV LQ ILQDQFLDO SULFHV RI VRPH RWKHU FRQWUDFW RU
EXVLQHVV ULVN ,W PD\ FRQVLVW RI FDVK LQVWUXPHQWV RU GHULYDWLYHV

+LVWRULFDO 9RODWLOLW\ $ PHDVXUH RI WKH DFWXDO YRODWLOLW\ D VWDWLVWLFDO PHDVXUH RI GLVSHUVLRQ REVHUYHG LQ
WKH PDUNHWSODFH

+\EULG 6HFXULW\ $Q\ VHFXULW\ WKDW LQFOXGHV PRUH WKDQ RQH FRPSRQHQW )RU H[DPSOH D K\EULG VHFXULW\
PLJKW EH D IL[HG LQFRPH QRWH WKDW LQFOXGHV D IRUHLJQ H[FKDQJH RSWLRQ RU D FRPPRGLW\ SULFH RSWLRQ

,Q7KH0RQH\ $Q RSWLRQ ZLWK SRVLWLYH LQWULQVLF YDOXH LV RQH ZKHUH WKH VWULNH SULFH RI WKH RSWLRQ LV
HFRQRPLFDOO\ PRUH IDYRUDEOH WKDQ WKH FXUUHQW PDUNHW )RU H[DPSOH D VWULNH SULFH RI FDOO RSWLRQ DW 
ZLWK D FXUUHQW PDUNHW SULFH RI  ZRXOG KDYH  LQ WKH PRQH\

,QGH[$PRUWL]LQJ 6ZDSV $Q LQWHUHVW UDWH VZDS LQ ZKLFK WKH QRWLRQDO DPRXQW IRU WKH SXUSRVHV RI
FDOFXODWLQJ FDVK IORZV GHFUHDVHV RYHU WKH OLIH RI WKH FRQWUDFW LQ D SUHVSHFLILHG PDQQHU

,QWHUHVW 5DWH 6ZDS $Q H[FKDQJH RI FDVK IORZV EDVHG RQ D SUHVHW QRWLRQDO DPRXQW ZLWK D SUHGHWHUPLQHG
VFKHGXOH RI SD\PHQWV DQG FDOFXODWLRQV 8VXDOO\ RQH FRXQWHUSDUW\ ZLOO UHFHLYHG IL[HG IORZV LQ H[FKDQJH
IRU PDNLQJ IORDWLQJ SD\PHQWV




                                                     
  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 105 of 108



,QWHUQDWLRQDO 6ZDSV DQG 'HULYDWLYHV $VVRFLDWLRQ ,6'$ $JUHHPHQWV 7R PLQLPL]H WKH OHJDO ULVNV RI
WUDQVDFWLQJ ZLWK RQH DQRWKHU FRXQWHUSDUWLHV HVWDEOLVKHG PDVWHU OHJDO DJUHHPHQWV ZLWK GHWDLOHG VFKHGXOHV
WKDW JRYHUQ DOO GHULYDWLYHV WUDQVDFWLRQV LQWR ZKLFK WKH\ PD\ HQWHU ZLWK RQH DQRWKHU

,QWULQVLF 9DOXH 7KH HFRQRPLF YDOXH RI D WUDQVDFWLRQ WKDW LV ³,Q WKH 0RQH\´ )RU H[DPSOH LI D VWULNH RP
DQ RSWLRQ LV  DQG WKH FXUUHQW PDUNHW LV  WKH RSWLRQ ZRXOG KDYH  RI LQWULQVLF YDOXH

.QRFNLQ 2SWLRQ $Q RSWLRQ ZLWK D EXLOWLQ PHFKDQLVP WKDW WULJJHUV DQ RSWLRQ ULJKW LI D FHUWDLQ SULFH RU
\LHOG OHYHO LV WRXFKHG RU H[FHHGHG

.QRFNRXW 2SWLRQ $Q RSWLRQ ZLWK D EXLOWLQ WULJJHU PHFKDQLVP WKDW UHQGHUV DQ RSWLRQ ZRUWKOHVV LI D
FHUWDLQ SULFH RU \LHOG OHYHO LV WRXFKHG RU H[FHHGHG

/,%25 /RQGRQ ,QWHUEDQN 2IIHU 5DWH 7KH DYHUDJH UDWH RI LQWHUHVW SDLG E\ OHDGLQJ EDQNV WR ORDQ
XQVHFXUHG PRQLHV WR HDFK RWKHU LQ WKH /RQGRQ GHSRVLW PDUNHW

/LTXLGLW\ 5LVN 7UDQVDFWLRQDO  7KH ULVN WKDW D ILQDQFLDO PDUNHW HQWLW\ ZLOO QRW EH DEOH WR ILQG D PDUNHW
SULFH RU D SULFH ZLWKLQ D UHDVRQDEOH WROHUDQFH LQ WHUPV RI WKH GHYLDWLRQ IURP SUHYDLOLQJ RU H[SHFWHG SULFHV
IRU RQH RU PRUH RI LWV ILQDQFLDO FRQWUDFWV LQ WKH VHFRQGDU\ PDUNHW &RQVLGHU WKH FDVH RI D FRXQWHUSDUW\ ZKR
EX\V D FRPSOH[ RSWLRQ +H LV H[SRVHG WR OLTXLGLW\ ULVN EHFDXVH RI WKH SRVVLELOLW\ WKDW KH FDQQRW ILQG
DQ\RQH WR SURYLGH D SULFH LQ WKH VHFRQGDU\ PDUNHW DQG EHFDXVH RI WKH SRVVLELOLW\ WKDW WKH SULFH KH REWDLQV LV
YHU\ PXFK DJDLQVW KLP DQG WKH WKHRUHWLFDO SULFH IRU WKH SURGXFW

/RRN%DFN 2SWLRQV $Q RSWLRQ ZKLFK JLYHV WKH RZQHU WKH ULJKW WR EX\ VHOO DW WKH ORZHVW KLJKHVW SULFH
WKDW WUDGHG LQ WKH XQGHUO\LQJ IURP WKH LQFHSWLRQ RI WKH FRQWUDFW WR LWV PDWXULW\ LH WKH PRVW IDYRUDEOH SULFH
WKDW WUDGHG RYHU WKH OLIHWLPH RI WKH FRQWUDFW

0DUJLQ $ FUHGLWHQKDQFHPHQW SURYLVLRQ WR PDVWHU DJUHHPHQWV DQG LQGLYLGXDO WUDQVDFWLRQV LQ ZKLFK RQH
FRXQWHUSDUW\ DJUHHV WR SRVW D GHSRVLW RI FDVK RU RWKHU OLTXLG ILQDQFLDO LQVWUXPHQWV ZLWK LWV FRXQWHUSDUWLHV
EDVHG XSRQ FKDQJHV LQ WKH PDUNHW YDOXH RI WKLV WUDQVDFWLRQ

0DUN WR 0DUNHW $FFRXQWLQJ $ PHWKRG RI DFFRXQWLQJ PRVW VXLWHG IRU ILQDQFLDO LQVWUXPHQWV LQ ZKLFK
FRQWUDFWV DUH UHYDOXHG DW UHJXODU LQWHUYDOV XVLQJ SUHYDLOLQJ PDUNHW SULFHV 7KLV PHWKRG LV HPSOR\HG E\
PRVW WUDGLQJ ILUPV DOORZLQJ WKHP WR NQRZ WKH PDUNHW YDOXH RI WKHLU SRUWIROLR GDLO\ 7KH FRUUHVSRQGLQJ
FKDQJHV DUH UHFRUGHG DV JDLQV RU ORVV LQ WKHLU LQFRPH VWDWHPHQW

0DUNHW 5LVN 7KH H[SRVXUH WR SRWHQWLDO ORVV IURP IOXFWXDWLRQV LQ PDUNHW SULFHV DV RSSRVHG WR FKDQJHV LQ
FUHGLW VWDWXV 

0DUNHW0DNHU $ SDUWLFLSDQW LQ WKH ILQDQFLDO PDUNHWV ZKR JXDUDQWHHV WR PDNH VLPXOWDQHRXVO\ D ELG DQG
DQ RIIHU IRU D ILQDQFLDO FRQWUDFW

0RGHO 7KLV LV WKH W\SH RI YDOXDWLRQ PRGHO XVHG WR YDOXH GHULYDWLYH RSWLRQV 7KHUH DUH PDQ\ NLQGV DQG
WKHLU XVDJH JUHDWO\ GHSHQGV RQ WKH W\SH RI RSWLRQ WKDW LV EHLQJ YDOXHG

1DNHG 2SWLRQ :ULWLQJ 7KH DFW RI VHOOLQJ RSWLRQV ZLWKRXW KDYLQJ DQ\ RIIVHWWLQJ H[SRVXUH LQ WKH
XQGHUO\LQJ FDVK LQVWUXPHQW




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 106 of 108



1HWWLQJ :KHQ WKHUH DUH FDVK IORZV LQ WZR GLUHFWLRQV EHWZHHQ WZR FRXQWHUSDUWLHV WKH\ FDQ EH FRQVROLGDWHG
LQWR RQH QHW SD\PHQW IURP RQH FRXQWHUSDUW\ WR WKH RWKHU WKHUHE\ UHGXFLQJ WKH VHWWOHPHQW ULVN LQYROYHG

1RWLRQDO 7KH QRWLRQDO RI D GHULYDWLYH WUDQVDFWLRQ UHSUHVHQWV WKH DPRXQW SD\PHQWV DUH EDVHG RII )RU
H[DPSOH DQ LQWHUHVW UDWH )L[HG WR )ORDWLQJ VZDS ZLWK D QRWLRQDO RI PP PHDQV WKDW WKH SD\PHQWV RI
ERWK WKH )L[HG DQG )ORDWLQJ OHJ DUH FDOFXODWHG RII PP

1RWLILFDWLRQ 'D\V 1RWLILFDWLRQ 'D\V DUH D FRQYHQWLRQ XVHG IRU GHULYDWLYH WUDQVDFWLRQV OLNH 6ZDSWLRQV
7KH 1RWLILFDWLRQ 'D\ IRU VZDSWLRQV DUH JHQHUDOO\ WZR EXVLQHVV GD\V EDFNLQJ RXW QRQEXVLQHVV GD\V OLNH
ZHHNHQGV DQG PDUNHW UHFRJQL]HG KROLGD\V  7KDW PHDQV WKDW WKH KROGHU RI WKH VZDSWLRQ VKRXOG QRWLI\ WKH
VHOOHU RI WKH VZDSWLRQ RI KLV LQWHQWLRQ WR H[HUFLVH WZR GD\V SULRU WR H[SLU\

2,6 6ZDS $Q 2,6 6ZDS RU 2YHUQLJKW ,QGH[ 6ZDS LV D WUDQVDFWLRQ ZKHUH RQH OHJ RI WKH VZDS LV D )L[HG
5DWH DQG WKH )ORDWLQJ UDWH LV FDOFXODWHG GDLO\ XVLQJ WKH )HGHUDO 5HVHUYH )XQGV UDWH DQG LV FRPSRXQGHG
HYHU\ GD\ 7KLV LQWHUHVW UDWH VZDS DOORZV IRU KHGJLQJ RU VSHFXODWLQJ RQ FKDQJHV LQ 2YHUQLJKW )XQGLQJ
OHYHOV DQG ULVN

2SHQ ,QWHUHVW ([FKDQJHV DUH UHTXLUHG WR SRVW WKH QXPEHU RI RXWVWDQGLQJ ORQJ DQG VKRUW SRVLWLRQV LQ WKHLU
OLVWHG FRQWUDFWV 7KLV FRQVWLWXWHV WKH RSHQ LQWHUHVW LQ HDFK FRQWUDFW

2SHUDWLRQDO 5LVN 7KH SRWHQWLDO IRU ORVV DWWULEXWDEOH WR SURFHGXUDO HUURUV RU IDLOXUHV LQ LQWHUQDO FRQWURO

2SWLRQ 7KH ULJKW EXW QRW WKH REOLJDWLRQ WR EX\ RU VHOO VRPH XQGHUO\LQJ ILQDQFLDO LQVWUXPHQW DW D SUH
GHWHUPLQHG UDWH RQ D SUHGHWHUPLQHG H[SLUDWLRQ GDWH LQ D SUHVHW QRWLRQDO DPRXQW

2XWRI7KH0RQH\ 6SRW $Q RSWLRQ ZLWK QR LQWULQVLF YDOXH ZLWK UHVSHFW WR WKH SUHYDLOLQJ PDUNHW VSRW UDWH
,I WKH RSWLRQ ZHUH WR PDWXUH LPPHGLDWHO\ WKH RSWLRQ KROGHU ZRXOG OHW LW H[SLUH )RU D FDOO SULFH WR KDYH
LQWULQVLF YDOXH WKH VWULNH PXVW EH OHVV WKDQ WKH VSRW SULFH )RU D SXW SULFH WR KDYH LQWULQVLF YDOXH WKH VWULNH
PXVW EH JUHDWHU WKDQ WKH VSRW SULFH

2XWRI7KH0RQH\)RUZDUG $Q RSWLRQ ZLWK QR LQWULQVLF YDOXH ZLWK UHVSHFW WR WKH SUHYDLOLQJ PDUNHW
IRUZDUG UDWH ,I WKH RSWLRQ ZHUH WR PDWXUH LPPHGLDWHO\ WKH RSWLRQ KROGHU ZRXOG OHW LW H[SLUH )RU D FDOO
SULFH WR KDYH LQWULQVLF YDOXH WKH VWULNH PXVW EH OHVV WKDQ WKH VSRW SULFH )RU D SXW SULFH WR KDYH LQWULQVLF
YDOXH WKH VWULNH PXVW EH JUHDWHU WKDQ WKH VSRW SULFH

2YHUWKH&RXQWHU $Q\ WUDQVDFWLRQ WKDW WDNHV SODFH EHWZHHQ WZR FRXQWHUSDUWLHV DQG GRHV QRW LQYROYH DQ
H[FKDQJH LV VDLG WR EH DQ RYHUWKHFRXQWHU WUDQVDFWLRQ

3D\PHQW )UHTXHQF\ ,Q D GHULYDWLYH WUDQVDFWLRQ WKH 3D\PHQW )UHTXHQF\ LV ZKHQ HDFK SDUW\ PDNHV
SD\PHQWV WR WKH RWKHU )RU H[DPSOH LQ DQ LQWHUHVW UDWH VZDS WKH )L[HG SD\HU PD\ SD\ 6HPL$QQXDOO\
ZKLOH WKH )ORDWLQJ 5DWH SD\HU PD\ SD\ 4XDUWHUO\

3UHPLXP 7KH FRVW DVVRFLDWHG ZLWK SXUFKDVLQJ RU VHOOLQJ DQ RSWLRQ UHIHUULQJ WR WKH FRPELQDWLRQ RI
LQWULQVLF YDOXH DQG WLPH YDOXH

3XW 2SWLRQ $ SXW RSWLRQ LV D WUDQVDFWLRQ JLYLQJ WKH RZQHU WKH ULJKW EXW QRW WKH REOLJDWLRQ WR VHOO D SUHVHW
DPRXQW RI WKH XQGHUO\LQJ ILQDQFLDO LQVWUXPHQW DW D SUHVHW SULFH ZLWK D SUHVHW PDWXULW\ GDWH




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 107 of 108



3UHVHQW 9DOXH 3UHVHQW 9DOXH LV D FRUH SULQFLSOH RI SULFLQJ DQ\ WUDQVDFWLRQ ERWK GHULYDWLYH DQG FDVK WKDW
UHOLHV RQ IXWXUH SD\PHQWV RI FDVK IORZV 3UHVHQW 9DOXH UHSUHVHQWV ZKDW WKH IXWXUH FDVK IORZV DUH ZRUWK
WRGD\ $ VLPSOH H[DPSOH ZRXOG EH D FKRLFH EHWZHHQ UHFHLYLQJ  GROODU WRGD\ RU  LQ D \HDU
/RRNLQJ DW ZKHUH  \HDU ULVN IUHH QR FUHGLW RU OLTXLGLW\ ULVN UDWHV DUH 35(6(17/< LI WKH LQYHVWRU FDQ
WDNH KLV  GROODU WRGD\ DQG JURZ LW E\ LQYHVWLQJ LQ WKH RQH\HDU ULVN IUHH UDWH DQG HQG XS ZLWK D YDOXH RI
 LQ D \HDU KH LV LQGLIIHUHQW EHWZHHQ UHFHLYLQJ  GROODU WRGD\ RU  D \HDU IURP QRZ $V WLPH
JRHV RQ DQG LQWHUHVW UDWHV FKDQJH WKH 3UHVHQW 9DOXH RI WKH WUDQVDFWLRQ FKDQJHV DV ZHOO ,I ULVN IUHH UDWHV JR
XS WKH 3UHVHQW 9DOXH IRU WKH SDUW\ UHFHLYLQJ WKH IL[HG FDVK IORZ JRHV GRZQ DQG WKH RSSRVLWH LI ULVN IUHH
UDWHV IDOO

39 7KH 39 UHIHUV WR WKH 3UHVHQW 9DOXH RI D GHULYDWLYH WUDQVDFWLRQ :LWK DQ LQWHUHVW UDWH GHULYDWLYH
WKLV PHDVXUHV WKH GROODU YDOXH FKDQJH LI LQWHUHVW UDWHV FKDQJH E\  EDVLV SRLQW WK RI   39
PHDVXUHV LQWHUHVW UDWH VHQVLWLYLW\ IRU WKH GHULYDWLYH WUDQVDFWLRQ

5HJXODWRU\ 5LVN 7KH SRWHQWLDO IRU ORVV VWHPPLQJ IURP FKDQJHV LQ WKH UHJXODWRU\ HQYLURQPHQW SHUWDLQLQJ
WR GHULYDWLYHV DQG ILQDQFLDO FRQWUDFWV

5HVHW )UHTXHQF\ ,Q D GHULYDWLYH WUDQVDFWLRQ WKH )ORDWLQJ 5DWH ³UHVHWV´ DW VRPH LQWHUYDO 4XDUWHUO\ 6HPL
$QQXDOO\ $QQXDOO\ HWF  7KH 5HVHW )UHTXHQF\ GHILQHV WKH LQWHUYDOV WKH )ORDWLQJ 5DWH OLNH  PRQWK
/,%25 RI WKH WUDQVDFWLRQ 5HVHWV

5KR 7KH VHQVLWLYLW\ RI D ILQDQFLDO FRQWUDFW¶V YDOXH WR VPDOO FKDQJHV LQ LQWHUHVW UDWHV

6HWWOHPHQW 5LVN 7KH ULVN RI QRQSD\PHQW RI DQ REOLJDWLRQ E\ D FRXQWHUSDUW\ WR D WUDQVDFWLRQ H[DFHUEDWHG
E\ PLVPDWFKHV LQ SD\PHQW WLPLQJV

6SHFXODWLRQ 7DNLQJ SRVLWLRQV LQ ILQDQFLDO LQVWUXPHQWV ZLWKRXW KDYLQJ DQ XQGHUO\LQJ H[SRVXUH WKDW RIIVHWV
WKH SRVLWLRQV WDNHQ

6SRW 7KH SULFH LQ WKH FDVK PDUNHW IRU GHOLYHU\ XVLQJ WKH VWDQGDUG PDUNHW FRQYHQWLRQ

6SUHDG 7KH GLIIHUHQFH LQ SULFH RU \LHOG EHWZHHQ WZR DVVHWV WKDW GLIIHU E\ W\SH RI ILQDQFLDO LQVWUXPHQW
PDWXULW\ VWULNH RU VRPH RWKHU IDFWRU $ VZDS VSUHDG LV WKH GLIIHUHQFH LQ \LHOG EHWZHHQ DQ LQWHUHVW UDWH
VZDS DQG WKH FRUUHVSRQGLQJ 7UHDVXU\ QRWH RU ERQG $ FUHGLW VSUHDG LV WKH GLIIHUHQFH LQ \LHOG EHWZHHQ D
FRUSRUDWH ERQG DQG WKH FRUUHVSRQGLQJ JRYHUQPHQW ERQG $ \LHOG FXUYH VSUHDG LV WKH VSUHDG EHWZHHQ WZR
JRYHUQPHQW ERQGV RI GLIIHULQJ PDWXULW\

6WUDGGOH $ 6WUDGGOH LV DQ RSWLRQ WUDQVDFWLRQ ZKHUHE\ WKH 6WUDGGOH 6HOOHU VHOOV ERWK D SXW DQG FDOO RU IRU
6ZDSWLRQV D SD\HU DQG UHFHLYHU  7KH 6WUDGGOH %X\HU LV WKH RSSRVLWH SURILOH 7KH VHOOHU ZRXOG EH
FKDUDFWHUL]HG DV D ³6HOOHU RI 9RODWLOLW\´ ZKLOH WKH EX\HU LV WKH RSSRVLWH

6WDQGDUG 'HYLDWLRQ ,Q ILQDQFH D VWDWLVWLFDO PHDVXUH RI GLVSHUVLRQ RI D WLPH VHULHV DURXQG LWV PHDQ WKH
H[SHFWHG YDOXH RI WKH GLIIHUHQFH EHWZHHQ WKH WLPH VHULHV DQG LWV PHDQ WKH VTXDUH URRW RI WKH YDULDQFH RI WKH
WLPH VHULHV

6WUHVV 7HVWLQJ 7KH DFW RI VLPXODWLQJ GLIIHUHQW ILQDQFLDO PDUNHW FRQGLWLRQV IRU WKHLU SRWHQWLDO HIIHFWV RQ D
SRUWIROLR RI ILQDQFLDO LQVWUXPHQWV




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  Case 1:14-cv-07126-JMF-OTW Document 503-3 Filed 08/02/17 Page 108 of 108



6WULNH 3ULFH 7KH SULFH DW ZKLFK WKH KROGHU RI DQ RSWLRQ KDV WKH ULJKW WR H[HUFLVH WKH RSWLRQ LI LW LV
HFRQRPLF WR GR VR DW WKH DSSURSULDWH SRLQW LQ WLPH DV GHOLQHDWHG LQ WKH ILQDQFLDO SURGXFW¶V FRQWUDFW

6WUXFWXUHG 1RWHV )L[HG LQFRPH LQVWUXPHQWV ZLWK HPEHGGHG GHULYDWLYHV 7KH FRXSRQ LQWHUHVW RU
PDWXULW\ SURFHHGV DUH OLQNHG WR D GHULYDWLYH IRUPXOD

6ZDSWLRQV 2SWLRQV RQ VZDSV

6ZDSWLRQ 7\SH 7KH 6ZDSWLRQ 7\SH GHILQHV ERWK WKH PDWXULW\ RI WKH RSWLRQ DQG WKH XQGHUO\LQJ ³7HQRU´
$Q H[DPSOH RI 7HQRU ZRXOG EH RSWLRQV RQ \HDU VZDS 7KH  \HDU ZRXOG KDYH UHIHUUHG WR DV ³7HQRU´
6R D \HDU \HDU 6ZDSWLRQ ZRXOG EH D \HDU RSWLRQ RQ WKH \HDU VZDS UDWH 6ZDSWLRQV FDQ EH
GHILQHG DV HLWKHU ³3D\HUV´ RU ³5HFHLYHUV´ 7KH 3D\HU 6ZDSWLRQ JLYHV WKH RSWLRQ KROGHU WKH ULJKW WR SD\ D
SUHGHWHUPLQHG IL[HG UDWH RQ D VZDS DW VRPH SRLQW LQ WKH IXWXUH $ 5HFHLYHU 6ZDSWLRQ LV WKH RSSRVLWH 7KH
3D\HU KROGHU ZDQWV UDWHV WR JR XS DQG WKH 5HFHLYHU KROGHU ZDQWV UDWHV WR JR GRZQ

7KHWD 7KH VHQVLWLYLW\ RI D GHULYDWLYH SURGXFW¶V YDOXH WR FKDQJHV LQ WKH GDWH DOO RWKHU IDFWRUV VWD\LQJ WKH
VDPH

7LPH 9DOXH )RU DQ RSWLRQ WLPH YDOXH LV WKH GLIIHUHQFH EHWZHHQ WKH LQWULQVLF YDOXH DQG WKH SUHPLXP

9DOXH DW 5LVN RU 9$5 7KH FDOFXODWHG YDOXH RI WKH PD[LPXP H[SHFWHG ORVV IRU D JLYHQ SRUWIROLR RYHU D
GHILQHG WLPH KRUL]RQ W\SLFDOO\ RQH GD\ DQG IRU D SUHVHW VWDWLVWLFDO FRQILGHQFH LQWHUYDO XQGHU QRUPDO
PDUNHW FRQGLWLRQV

9DOXH RI D %DVLV 3RLQW 7KH FKDQJH LQ WKH YDOXH RI D ILQDQFLDO LQVWUXPHQW DWWULEXWDEOH WR D FKDQJH LQ WKH
UHOHYDQW LQWHUHVW UDWH E\  EDVLV SRLQW LH  RI  

9HJD 7KH VHQVLWLYLW\ RI DQ RSWLRQ¶V YDOXH WR FKDQJHV LQ LPSOLHG YRODWLOLW\ DOO RWKHU IDFWRUV VWD\LQJ WKH
VDPH

9RODWLOLW\ 9RODWLOLW\ LV PHDVXUHPHQW RI WKH GLVSHUVLRQ RI SULFH PRYHPHQWV IRU D VSHFLILF ILQDQFLDO SURGXFW
,QWHUHVW UDWH YRODWLOLW\ DWWHPSWV WR PHDVXUH WKH YDULDELOLW\ RI \LHOGV RU UDWHV RYHU VSHFLILHG SHULRGV RI WLPH

<LHOG &XUYH )RU D SDUWLFXODU VHULHV RI IL[HG LQFRPH LQVWUXPHQWV VXFK DV JRYHUQPHQW ERQGV WKH JUDSK RI
WKH \LHOGV WR PDWXULW\ RI WKH VHULHV SORWWHG E\ PDWXULW\

<LHOG &XUYH 5LVN 7KH SRWHQWLDO IRU ORVV GXH WR VKLIWV LQ WKH SRVLWLRQ RU WKH VKDSH RI WKH \LHOG FXUYH

=HUR &RXSRQ ,QVWUXPHQWV )L[HG LQFRPH LQVWUXPHQWV WKDW GR QRW SD\ D FRXSRQ EXW RQO\ SD\ SULQFLSDO DW
PDWXULW\ WUDGH DW D GLVFRXQW WR  RI SULQFLSDO EHIRUH PDWXULW\ ZLWK WKH GLIIHUHQFH EHLQJ WKH LQWHUHVW
DFFUXHG




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